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  Fill in this information to identify your case:
                                                                                                                Filed in U.S. Bankruptcy Court
                                                                                                                         Atlanta, Georgia
I United States Bankruptcy Court for the:
I Northern District of Georgia
                                                                                                                       JUL       2. 2 2022   r0 :22 -4 / 11
  Case number (If known):                                          Chapter you are filing under                    M. Regina Tho
                                                                   lid Chapter 7
                                                                                                          By:
                                                                       Chapter 11

  2 55 5 9 5                                                       0 Chapter 12
                                                                   0 Chapter 13




 Official Form 101
 Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                 02/20

 The bankruptcy forms use you arid Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together--called a
 joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car,"
 the answer would be yes If either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
 Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor Z The
 same person must be Debtor f in all of the forms.
 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 Information. If more space is needed, attach a separate sheet to this form On the top of any additional pages, write your name and Case number
 (if known). Answer every question.


 Part 1:    Identify Yourself

                                      About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):•
! I. Your full name
     Write the name that is on your   Wylleshe
     government-issued picture
                                      First name                                                     First name
     identification (for example
     your drivers license or
     passport).                       Middle name                                                    Middle name
     Bring your picture                Curry
     identification to your meeting   Last name                                                      Last name
     with the trustee.
                                      Suffix (Sr.* Jr., II, Ill)                                     Suffix (Sr,, Jr„ II, ill)




  2. All other names you
     have used in the last 8          First name                                                     First name
i
,    years
     Include your married or           Middle name                                                   Middle name
     maiden names.
                                       Last name                                                     Last name


                                       First name                                                    First name

                                       Middle name                                                   Middle narrie

                                       Last name                                                     Last name




      Only the last 4 digits of
                                       XXX                         3      3            6
      your Social Security
      number or federal                OR
      Individual Taxpayer
      Identification number            9u                                                             9 xx
      (lTIN)

  Official Farm 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                    page 1
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Debtor 1    VVyllesha C Curry                                                                           Case number rithr)ows
             Met Name    Mickliat Name               Ust Non*




                                         About Debtor 1;                                                      About Debtor 2 (Spouse Only in a Joint Case):


4. Any business names
                                         0 I have not used any business names or EINs.                        Zi I have not used any business names or EINs.
   and Employer
   Identification Numbers
   (EIN) you have used in
   the last 8 years                      Business name                                                        Business name

    Include trade names and
    doing business as names              Business name                                                        Business name



                                         EIN

                                                                                                                                           —
                                         EIN                                                                   EIN




 s. Where you live                                                                                             If Debtor 2 lives at a different address:


                                          3754 Red Rose Ct
                                         Number          Street                                                Number           Street




                                          Loganville                               GA        30052
                                          City                                    State     ZIP Code           City                                   State       ZIP Code

                                          Gwinnett
                                          County                                                               County


                                          If your mailing address is different from the one                     If Debtor 2's mailing address is different from
                                          above, fill it in here. Note that the court will send                 yours, fill it in here. Note that the court will send
                                          any notices to you at this mailing address.                           any notices to this mailing address.



                                          Number          Street                                                Number          Street



                                          P.O. Box                                                              P.O. Box



                                          City                                     State     ZIP Code           City                                      State   ZIP Code




  s. Why you are choosing                 Check one:                                                            Check one:
     Mis district to file for
                                           0     Overt* last 180 days before filing this petition,              13 Over the last 180 days before filing this petition,
     bankruptcy                                                                                                    I have lived in this district longer than in any
                                                 I have lived in this district longer than in any
                                                 other district.                                                   other district.

                                          1:1 I have another reason. Explain.                                          I have ariother reason. Explain.
                                              (See 28 U.S.C. § 1408.)                                                  (See 28 U.S.C. § 1408.)




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Debtor 1     VINIlesha C Curry                                                                  Case number eroaown)
             Fits/ Noma   Middle Name              Last Name




Part 2:    Tell the Coud About Your Bankruptcy Case


7. The chapter of the                   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
   Bankruptcy Code you                  for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box,
   are choosing to file
   under                                ZI Chapter 7
                                        0 Chapter 11
                                           Chapter 12
                                        LI:Chapter 13


8. How you will pay the fee             U I will pay the entire fee when I file my petition. Please check with the clerk's office in your
                                          local court for more details about how you may pay. Typically, if you are paying the fee
                                           yourself, you may pay with cash, cashier's check or money order if your attorney is
                                          submitting your payment on your behalf, your attorney may pay with a credit card or check
                                          With a pre--printed address.

                                        U I need to pay the fee in installments. If you choose this option, sign and attach the
                                          Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                        0 I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                          By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                          less than 150% of the official poverty line that applies to your family size and you are unable to
                                          pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                          Chapter 7 Filing Fee Waived (Official Form 1036) and file it with your petition.


• 9. Have you filed for                  0 No
     bankruptcy within the
     last 8 years?                       CI Yes.    District                            VVhen                     Case number
                                                                                                MM DD / YYYY

                                                    District                            When                      Case number
                                                                                                MM! DO YYYY

                                                    District                            When                       Case number
                                                                                                MM! OD IYYYY



     Are any bankruptcy                  21 No
     cases pending or being
                                         El Yes,    Debtor                                                             Relationship to you
     filed by a spouse who is
     not filing this case with                      District                            When                       Case number, if known
     you, or by a business                                                                      MM/ DO / YYYY
     partner, or by an
     affiliate?
                                                     Debtor                                                        Relationship to you

                                                     District                            When                          Case number, if known
                                                                                                MM / DD / YYYY



 it Do you rent your                     0 No. Go to line 12.
    residence?                             Yes. Has Your landlord obtained an eviction judgment against you?
                                                     0 No. Go to line 12.
                                                     U Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                       part of this bankruptcy petition.




    Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                   page 3
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Debtor 1      VVyllesha C Curry                                                                  Case number yknovm)
             First Num     Middle Name            tasi Name




ral        Report About Any Businesses You Own as a Sole Proprietor


12, Are you a sole proprietor            Vi No. Go to Part 4.
    of any full- or part-time
    business?                            U Yes. Name and location of business
    A sole proprietorship is a
    business you operate as an
    individual, and is not a                     Name of business, if any
    separate legal entity such as
    a corporation, partnership, or
    LLC.                                         Number       Street
    If you have more than one
    sole proprietorship, use a
    separate sheet and attach it
    to this petition.
                                                     City                                                  State       ZIP Code


                                                 Check the appropriate box to describe your business:
                                                 U Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                 U Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                 U Stockbroker (as defined in 11 U.S.C. §101(53A)).
                                                 U Commodity Broker (as defined in 11 U.S.C, § 101(6))
                                                 •     None of the above
                                                                                                                              ,


13.Are you filing under                  If you are filing under Chapter /1, the court must know whether you area small business debtor so that it
   Chapter 11 of the                     can set appropriate deadlines If you indicate that you are a small business debtor, you must attach your
   Bankruptcy Code and                   most recent balance sheet statement of operations, cash flow statement and federal Income tax return or if
                                         any of these documents do not exist, follow the procedure in 11 US.C. § 1116(1)(B).
   are you a small business
   debtor?                                  No. lam not filing under Chapter 11.
   For a definition of small  U No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
   business debtor, see              the Bankruptcy Code.
   11 U.S.C. § 101(510).
                              U Yes. I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy
                                     Code, and I do not choose to proceed under Subchapter V of Chapter 11.
                              U Yes. lam filing under Chapter 11, lam a small business debtor according to the definition in the
                                     Bankruptcy Code, and I choose to proceed under Subchapter V of Chapter 11.
            Report if You Own r Have Any Hazardous Property or Any Property That Needs Immediate Attention


14.Do you own or have any                fa No
   property that poses or is
   alleged to pose a threat              U Yes. VVhat is the hazard?
   of imminent and
   Identifiable hazard to
   public health or safety?
   Or do you own any
   property that needs
                                                     If immediate attention is needed, why is it needed?
   immediate attention?
   For example, do you own
   perishable goods, or livestock
   that must be fed, or a building
   that needs urgent repairs?
                                                      Where is the property?
                                                                               Number       Street




                                                                               City                                         State   ZIP Code


   Offidal Form 101                                   Voluntary Petition for Individuals Filing for Bankruptcy                            page 4
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Debtori      INvIlesha C Curry
             Fitt NOM
                                                                                                       Case number ff known)
                            Middle Name            Lest Name




Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                          About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
16. Tell the court Whether
    you have received a
    briefing about credit                 You must check one:                                                 You must check one:
    counseling.
                                          0 I received a briefing from an approved credit                        I received a briefing from an approved credit
                                            counseling agency within the 180 days before I                       counseling agency within the 180 days before I
   The law requires that you                filed this bankruptcy petition, and I received a                     filed this bankruptcy petition, and I received a
   receive a briefing about credit          certificate of completion.                                           certificate of completion.
   counseling before you file for
   bankruptcy, You must                     Attach a copy of the certificate and the payment                     Attach a copy of the certificate and the payment
   truthfully check one of the              plan, if any, that you developed with the agency.                    plan, if any, that you developed with the agency,
   following choices. If you
                                             I received a briefing from an approved credit                    U I received a briefing from an approved credit
   cannot do so, you are not
                                             counseling agency within the 180 days before I                     counseling agency within the 180 days before I
   eligible to file.
                                             filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, butt do not have a
                                             certificate of completion,                                         certificate of completion.
   If you file anyway, the court
                                             Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
   can dismiss your case, you
                                             you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
   will lose whatever filing fee
                                             plan, if any.                                                      plan, if any.
   you paid, and your creditors
   can begin collection activities        U I certify that I asked for credit counseling                      U I certify that I asked for credit counseling
   again.                                   services from an approved agency, but was                           services from an approved agency, but was
                                            unable to obtain those services during the 7                        unable to obtain those services during the 7
                                            days after I made my request, and exigent                           days after I made my request, and exigent
                                            circumstances merit a 30-day temporary waiver                       circumstances merit a 30-day temporary waiver
                                            of the requirement.                                                 Of the requirement.
                                             To ask for a 30-day temporary waiver of the                          To ask for a 30-day temporary waiver of the
                                             requirement, attach a separate sheet explaining                      requirement, attach a separate sheet explaining
                                             what efforts you made to obtain the briefing, why                    what efforts you made to obtain the briefing, why
                                             you were unable to obtain it before you filed for                    you were unable to obtain it before you filed for
                                             bankruptcy, and what exigent circumstances                           bankruptcy and what exigent circumstances
                                             required you to file this case.                                      required you to file this case.
                                             Your case may be dismissed if the court is                           Your case may be dismissed if the court is
                                             dissatisfied with your reasons for not receiving a                   dissatisfied with your reasons for not receiving a
                                             briefing before you filed for bankruptcy.                            briefing before you filed for bankruptcy.
                                             If the court is satisfied with your reasons, you must                If the court is satisfied with your reasons, you must
                                             still receive a briefing within 30 days after you file.              still receive a briefing within 30 days after you file.
                                             You must file a certificate from the approved                        You must file a certificate from the approved             •
                                             agency, along with a copy of the payment plan you                    agency, along with a copy of the payment plan you
                                             developed, if any. If you do not do so, your case                    developed, if any If you do not do so, your case
                                             may be dismissed.                                                    may be dismissed,
                                             Any extension of the 30-day deadline is granted                      Any extension of the 30 day deadline is granted
                                             only for cause and is limited to a maximum of 15                     only for cause and is limited to a maximum of 15
                                             days.                                                                days.

                                          U I am not required to receive a briefing about                     U I am not required to receive a briefing about
                                            credit counseling because of:                                       credit counseling because of:

                                              U Incapacity. I have a mental illness or a menial                       Incapacity. I have a mental illness or a mental
                                                            deficiency that makes me                                              deficiency that makes me
                                                            incapable of realizing or making                                      incapable of realizing or making
                                                            rational decisions about finances.                                    rational decisions about finances.
                                              0 Disability.     My physical disability causes me                  U Disability.      My physical disability causes me
                                                                to be unable to participate in a                                     to be unable to participate in a
                                                                briefing in person, by phone, or                                     briefing in person, by phone or
                                                                through the internet, even after I                                   through the Internet even after I
                                                                reasonably tried to do so.                                           reasonably tried to do so.
                                              U Active duty. I am currently on active military                     ij Active duty. I am currently on active military
                                                             duty in a military combat zone.                                       duty in a military combat zone,
                                              if you believe you are not required to receive a                    If you believe you are not required to receive a
                                              briefing about credit counseling, you must file a                   briefing about credit counseling, you must file a
                                              motion for waiver of credit counseling with the court.              motion for waiver of credit counseling with the court.




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Debtor 1      VVyllesha C Curry                                                                   Case number ono.....n)
             First Name   NIAdtr Name




Part 6:    Answer These Questions for Reporting Purposes

                                        16a. Are your debts primarily consumer debts? Consumerdebts are defined in 11 U.S.C.§ 101(8)
is. What kind of debts do                    as Incurred by an individual primarily for a personal, family, or household purpose,'
    you have?
                                            U No. Go to line 16b.
                                            O Yes. Go to line 17.
                                        16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                             Money for a business or investment or through the operation of the business or investment.
                                             O No, Go to line 16c.
                                             0 Yes. Go to line 17.

                                        16c. State the type of debts you owe that are not consumer debts Or business debts,
                                             Student debt

17. Are you filing under
    Chapter 7?                          CI No. I am not filing under Chapter 7. Go to line 18,

    Do you estimate that after 0 Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is            administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and                      0 No
    administrative expenses
    are paid that funds will be       CI Yes
    available for distribution
    to unsecured creditors?

is How many creditors do                0 1-49                                 0 1,000-5,000                               U 25,001-50,000
   you estimate that you                D 50-99                                LI 5,001-10,000                               50,001-100,000
   owe?                                    100-199                             0 10,001-25,000                             0 More than 100,000
                                        LI 200-999_

19.How much do you                        $0-$50,000                             $1,000,001-$10 million                    CI 5500,000,001-$1 billion
   estimate your assets to              0 $50.0014100,000                      0 $10,000,001450 million                       51,000,000,001410 billion
   be worth?                            0 $100,0014500,000                       $50,000,0014100 million                      $10,000,000,001450 billion
                                        0 $500,001-51 million                    $100,000,0014500 million                  LI More than $50 billion

20. HOW much do you                         $0450,000                          0 $1,000,001410 million                       $500,000,001-$1 billion
    estimate your liabilities           CI $50,0014100,000                        $10,000,001-$50 million                  0 $1,000,000,001410 billion
    to be?                                 $100,001-$500,000                      $50,000,001-$100 million                 0 $10,000,000,001-550 billion
                                         0 $500,00141 million                  LI $100,000,0014500 million                 0 More than $50 billion
 Part 7:    Si n Below

                                        I have examined this petition, and I declare under penalty of perjury that the information provided is true and
 For you                                correct.
                                        If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                        of title 11, United States Code, I understand the relief available under each chapter, and I choose to proceed
                                        under Chapter 7.
                                         If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                         this document, I have obtained and read the notice required by 11 U.S.C. §342(b).
                                         I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                         I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                         with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both
                                         18 U.S.C. §§ 15 1341, 1519, and 3571.



                                             Signature f Debtor 1                                            Signature of Debtor 2

                                             Executed On ad /CU W3) ---                                      Executed on
                                                         mto I DD /YYYY                                                    MM I DD      / YYYY


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Debtor 1     VVyllesha C Curry                                                             Case number titkn.i.)
             Fir31Name   Middle Nemo           L.ANarne




For you if you are filing this         The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an                  should understand that many people find it extremely difficult to represent
attorney                               themselves successfully. Because bankruptcy has long-term financial and legal
                                       consequences, you are strongly urged to hire a qualified attorney.
If you are represented by
an attorney, you do not                To be successful, you must correctly file and handle your bankruptcy case. The rules are very
need to file this page.                technical, and a mistake or inaction may affect your rights. For example, your case may be
                                       dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                       hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                       firm if your case is selected for audit. If that happens, you could lose your right to file another
                                       case, or you may lose protections, including the benefit of the automatic stay.
                                       You must list all your property and debts in the schedules that you are required to file with the
                                       court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                       in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                       property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                       also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                       case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                       cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                       Bankruptcy fraud is a serious crime; you could be fined and imprisoned.
                                       If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                       hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                       successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                       Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                       be familiar with any state exemption laws that apply.

                                       Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                       consequences?
                                       D    No
                                       RI   Yes

                                       Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                       inaccurate or incomplete, you could be fined or imprisoned?
                                       (ZI No
                                           Yes
                                       Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                       21 No
                                       CI Yes. Name of Person
                                               Attach Bankruptcy Petition Preparers Notice, Declaration, and Signature (Official Form 119).


                                        By signing here, I acknowledge that I understand the risks involved in filing without an attorney. I
                                        have read and understood this notice, and I am aware that filing a bankruptcy case without an
                                        attorney may cause me to lose my rights or property if I do not properly handle the case.
                                                          k 0

                                                      1,
                                         Signature        Debtor 1                                    Signature of Debtor 2

                                        Date
                                                           MM/DD
                                                                     9   ia6o-
                                                                         / YYY      if)
                                                                                                      Date
                                                                                                                       MM/ DD /YYYY

                                        Contact phone            1   9 3(ik, 777‘.-v                  Contact phone

                                        Cell phone                                                    Cell phone

                                        Email address      (it lloim                 176tizil
                                                                                        -             Email address



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 Fill in this informaticin to identify your case:


 Debtor 1              Wyllesha C Curry
                       Feat Name             Middle Name              Last Name

 Debtor 2
 (Spouse, If filing)   Fast Name             Metale Name              Last Name


 United States Bankruptcy Court forte: Northern District of Georgia

 Case number
   known)                                                                                                                        U Check if this is an
                                                                                                                                   amended filing




Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                 04/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.


  Part 1:         Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?


         , attied
       aN'ot married


  2 During the last 3 years, have you lived anywhere other than where you live now?
       af No
       U Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

               Debtor 1:                                        Dates Debtor 1    Debtor 2:                                           Dates Debtor 2
                                                                lived there                                                           lived there


                                                                                  U Same as Debtor 1                                 U    Seine as Debtor 1


                                                                From                                                                      From
                 Number            Street                                             Number Street
                                                                To                                                                        To




                 _City                      State ZIP Code                            City                    State ZIP Code

                                                                                  0 Same as Debtor 1                                  U   Same as Debtor 1

                                                                From                                                                      From
                 Number            Street                                             Number Street
                                                                To                                                                        To



                 City                       State ZIP Code                            City                    State   ZIP Code


   3    Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community properly
        states    territories include Arizona. California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
             No
        0 Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

   Part 2. Explain the Sources of Your income
Official Form 107                               Statement ofFinanclalAffairs for Individuals Filing for Bankruptcy                             page '1
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Debtor 'l        Wyliesha C Curry                                                                         Case number (11Mom)
                   Fint Nome     wade Hare.             UM Name




  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you      filing a joint case and you have income that you receive together, list it only once under Debtor I.

            No
      0     Yes. Fill in the details.



                                                               Sources of income           Gross income              Sources of income          Gross income
                                                               Check all that apply,       (before deductions and    Check all that apply.      (before deductions and
                                                                                           exclusions)                                          exclusions)

              From January 1 of current year until
                                                               U Wages, commissions,                                 Ei Wages, commissions,
                                                                 bonuses, tips                                           bonuses, bps
              the date you filed for bankruptcy:
                                                               • Operating a business                                0   Operating a business


              For last calendar year:                          CI Wages, commissions,                                U Wages, commissions,
                                                                    bonuses, tips          $                           bonuses, tips
              (January it . December 31,                   )    0   Operating a business                             0 Operating a business
                                              veYY


              For the calendar year before that:             O Wages, commissions,                                   CI Wages, commissions,
                                                               bonuses, tips                                              bonuses, tips
              (January 1 to December 31,                   ) 0 Operating a business                                  0 Operating a business
                                                YY


   5 Did you receive any other income during this year or the bNO previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support Social Security,
     unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
     gambling and lottery winnings. If you are tiling a joint case and you have income that you received together, list it only once under Debtor 1.

       List      ch source and the gross income from each source separately. Do not include income that you listed in line 4.

              No
       U Yes. Fill in the details.



                                                                  Sources of income         Gross income from          Sources of income         Gross income from
                                                                  Describe below,           each source                Describe below,           each source
                                                                                            (before deductions and                               (before deductions and
                                                                                            exclusions)                                          exclusions)


               From January 1 of current year until
               the date you filed for bankruptcy:




                 For last calendar year:

                 (January 1 to December 31,
                                                 YY



                 For the calendar year before that:
                 (January Ito December 31,




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Debtor I     NAMIesha C Curry                                                                           Case number tifkrovrt)
               First Name            MIdde Name             Last Name




               List Certain Payments You Made Before You Filed for Bankruptcy



  S. Are either Debtor Vs or Debtor 2's debts primarily consumer debts?

      LI No.   Neither Debtor I nor Debtor 2 has primarily consumer debts, Consumer debts are defined in 11 U.S.C. § 101(8) as
               Incurred by an individual primarily for a personal, family, or household purpose,"
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

                U No, Go to line 7.

                LI Yes. List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the
                         total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                         child support and alimony, Also, do not include payments to an attorney for this bankruptcy case.
                * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                id No. Go to line 7.

                1:3   Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                           creditor, Do not include payments for domestic support obligations, such as child support and
                           alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                              Dates of     Total amount paid         Amount you still owe   Was this payment for,..
                                                                              payment


                        Creditors Name
                                                                                                                                            1:.-1 Mortgage
                                                                                                                                            0 Car
                        Number        Street                                                                                                U Credit card
                                                                                                                                            1:7 Loan repayment
                                                                                                                                            U Suppliers or vendors
                        City                      State           ZIP Coda                                                                  0 Other


                                                                                                                                            U Mortgage
                        Creditor's Name
                                                                                                                                            0 Car
                        Number        Street                                                                                                U Credit card
                                                                                                                                            CI Loan repayment
                                                                                                                                            U Suppliers or vendors
                            City                  State           ZIP Code
                                                                                                                                            U Other




                                                                                                                                            U Mortgage
                            Creditors Name
                                                                                                                                             0 Car
                            Number     Street                                                                                                     Credit card

                                                                                                                                             la   Loan repayment
                                                                                                                                             U Suppliers or vendors

                            City,                 Stale            ZIP Code                                                                 I:I Other



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Debtor 1     VVyllesha C Curry                                                                      Case number tintnasnI
               First Name        Middle Name            Last Name




 7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives;• any general partners; relatives of any general partners; partnerships of which you are a general partner;
      corporations of which you are an•offic.er, director, person in control, or owner of 20% or more of their voting securities; and any managing
      agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
      su•"Id        smpport and alimony,


           as, List all payments to an insider.
                                                                      Dates of     Total amount        Amount you still     Reason for this payment
                                                                      payment      paid                Owe



            Insiders Name



            Number     Street




            City                               Stale     ZIP Code




            Insider's Name


            Number     Street




            City                               State     ZIP Code


   s. liltithin 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
       an insider?
       Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments that benefited an insider.
                                                                      Dates of       Total amount       Amount you still    Reason for this payment
                                                                      payMent        paid               owe                 Include creditor's name



            insiders Name



             Number     Street




             City                              Slate      ZIP Code




             insides Name



             Number     Street




             City                               State     ZIP Code



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Debtor 1       VVyllesha C Curry                                                                           Case number yr
                Firo Name         Mae Name           Last NprrIG




               Identify Legal Actions,, Repossessions, and Foreclosures
  s. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all ch matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
                t distes.


           Yes. Fill in the del
                                                              Nature of the case                     Court or agency                            Status of the case



            Case title                                                                             Court Name
                                                                                                                                                U Pending
                                                                                                                                                U On appeal

                                                                                                   Number      Street                           U Concluded

             Case number
                                                                                                    City                    State   ZIP Code



                                                                                                                                                U Pending
             Case title                                                                             Court Name
                                                                                                                                                    On appeal

                                                                                                    Number     Street                           U Concluded

             Case number
                                                                                                    City                    State   ZIP Code


   10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or. levied?
       Check all that apply and fill in the details below.
      if No. Go to line 11,
      U Yes. Fill in the information below.
                                                                         Describe the property                                        Date     Value of the property




                   Creditor's Name


                   Number    Street                                      Explain what happened

                                                                         CI Property was repossessed.
                                                                         0 Property was foreclosed.
                                                                         0 Properly was garnished.
                   City                      state    ZIP Code           U      Property was attached, seized, or levied.
                                                                         Describe the property                                        Date      Value of the propert




                   Cieditora Name


                   Number    Street
                                                                         Explain what happened

                                                                                Property was repossessed.
                                                                                Property was foreclosed.
                                                                                Property was garnished.
                                             State    DP Code
                                                                         12:1   Property was attached, seized, or levied.



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Debtor 1          Wyllesha C Curry                                                                            Case number
                   Fist Name        MiodaN5me             Last Name




 it Within 90 days before you filed for bankruptcy, did any creditor, Including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
     0 No
     0     Yes. Fill in the details,

                                                                      Describe the action the creditor took                   Date action       Amount
                                                                                                                              was taken

           CreditorS Name

                                                                                                                                                              0.00
           Number       Street




           City                            State    ZIP Code      Last 4 digits of account number: >00<X—


  12. Within 'I year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
      creditors, a court-appointed receiver, a custodian, or another official?
      O No
      0 Yes
                   List Certain Gifts and Contributions


   i3. Within 2 years          before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
      O No
      O Yes. Fill in the details for each gift


            • Gifts with a total value of more than $600              Describe the gifts                                      Dates you gave       Value
              per person                                                                                                      the gifts




            Pomo to Whom You Gave the Gift




            Number       Street



            City                            State   ZIP Code


            Person's relationship Co you



            Gifts with a total value of more than $600                 Describe the gifts                                      Dates you gave     Value
            Per person                                                                                                         the gifts




            Person to Whom You Gave the Gift




            Number       Street



            City                            State    ZIP Coda


            Person's relationship to you



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Debtor 1         Wyllesha mid&
                          C Curry
                               N. m.
                                                                                                                     Case number (dknown)
                    FSst Nurse                                 Last Name




 14.W"                   ars before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
                          \P"e'
               es. Fill in the dqi1,s for each gift or contribution.

               Gifts or contributions to charities                    Describe what you contributed                                            Date you           Value
               that total more than $600                                                                                                       contributed




              Chanty's Name




              Number      Street




                            Slate          ZIP Code




                        List Certain Losses
gin
   '5. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
       disaster, or gambling?

         g No
           Yes. Fill in the details.

                Describe the property you lost and                         Describe any Insurance coverage for the loss                                           Value of property
                how the loss occurred                                                                                                                             lost
                                                                           Include the amount thatinsurance has paid, List pending insurance
                                                                           claims on line 33 of Schedule NB: Properly,




rin                 List Certain Payments or Transfers



I  16,   Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
         you consulted about seeking bankruptcy or preparing a bankruptcy petition?
         Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

         ij    No
         0     Yes. Fill in the       details,

                                                                           Description and value of any property- transferred                   Date payment or    Amount of payment
                                                                                                                                                transfer was
                Person Who Was Paid                                                                                                             made


                Number       Street




                 City                            State   ZIP Code




                 Person Who Made the Payment, if Not You


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Debtor          Wyllesha C Curry                                                                                Case number prknorrs
                    Forst Name        Middle Name           lastName




                                                                   Description and value of any property transferred                   Date payment or        Amount of
                                                                                                                                       transfer was made      payment

             Person Who Was Paid


             Number        Street




             City                          State     ZIP Code




             Email or website address


             Person Who Made the Payment, if Not VOL


  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
      promised to help you deal with your creditors or to make payments to your creditors?
      Do not include any payment or transfer that you listed on line 16.

        &I No
        U Yes. All in the details.
                                                                       Description and value of any property transferred               Date payment or        Amount of payment
                                                                                                                                       transfer was
                                                                                                                                       made
              Person Who Was Paid


              Number        Street




              City                          State     ZIP Code

  18.    Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
         transferred in the ordinary course of your business or financial affairs?
         Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
         Do not include gifts and transfers that you have already listed on this statement.
         gi No
         •U Yes. Fill in the details.
                                                                       Description and value of property         Describe any property or payments received       Date transfer
                                                                       transferred                               or debts paid In exchange                        was made

              Person Who Received Transfer


              Number        Street




               City                          State    ZIP Code


               Person's relationship to you


               Person Who Received Transfer


                umber        Street




                                             State    ZIP Code

               Person's relationship to you

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Debtor 1       WvIlesha C Curry                                                                          Case number of im
                  FirstName       Middle Name          Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     0 No
     ij Yes. Fill in the details.

                                                               Description and value of the property transferred                                         Date transfer
                                                                                                                                                         was made



            Name of trust




FM             List Certain Financial Accounts, Instruments, Safe Deposit Bosom, and Storage Units
  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit
      closed, sold, moved, or transferred?
      Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
      brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

      9.1 No
            Yes. Fill in the details.

                                                                   Last 4 digits of account number   Type of account or         Date acceent was       Last balance before
                                                                                                     Instrument                 closed, sold, moved,   closing or transfer
                                                                                                                                or transferred

              Name of Financial InstNution
                                                                                                     DI Checking

                                                                                                     D Savings
              Number Street
                                                                                                        Money market

                                                                                                        Brokerage
              City                      State    ZIP Code
                                                                                                     C3 Other

                                                                    XXXX—                               Checking
              Name of Financial Institution
                                                                                                     La Savings

              Number Street                                                                          1...3 Money market

                                                                                                     LI Brokerage

                                                                                                         Other
              City                       State   ZIP Code

   21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
       securities, cash, or other valuables?
             No
       ID    Yes. Fill in the details.
                                                                    Who else had access to it?                     Describe the contents                       Do you still
                                                                                                                                                               have it?

                                                                                                                                                                fj No
              Name of Financial Institution                        :Name                                                                                      • U Yes

              Number Street                                        Number Street


                                                                   City      State      ZIP Code
              City                       State   ZIP Code


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Debtor 1         Wyllesha C Curry                                                                             Case number tirmarm
                  Pint Name        Wade Name           Last Name



 22. Have you stored property          in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
           No
           Yes. Fill in the details.
                                                               Who else has or had access to it?                    Describe the contents           Do you Mill
                                                                                                                                                    have it?

                                                                                                                                                      C-.1 No
             Name a Storage Facility                           Name                                                                                       Yes


             Number      Street                                Number     Street


                                                               CityState ZIP Code

             City                      State    ZIP Code



=11                    Identify Property You Hold or Control for Someone Else

  23. Do you hold or   control any property that someone else owns? Include any property you borrowed from, are storing for,
      or hold in trust for someone.
      g     No
            Yes. Fill In the details.
                                                               Where is the property?                               Describe the property        Value


                Owner's Name

                                                              Number Street
                Number    Street



                                                              City                          State      ZIP Code
                City                    State   ZIP Code

   Part 10:            Give Details About Environmental Information

   For the purpose of Part 10„ the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
      hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
      including statutes or regulations Controlling the cleanup of these substances, wastes, or material.

   a Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
     utilize it or used to own, operate, or utilize it, including disposal sites.

      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
      substance, hazardous material, pollutant, contaminant, or similar term.

   Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

   24. Has any governmental unit notified you that you may be liable or potentially liable Under or in violation of an environmental law?

       id No
       0 Yes. Fill in the details.
                                                                   Governrnentai unit                      Environmental law, If you know it     Dote of notice



             Name of site                                      Governmental unit


              Number     Street                                Number     Street


                                                               City                 State   ZIP Code


              City                      State   ZIP Code



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Debtor 1           VVyllesha C Curry                                                                        Case number (ifknown)
                    First Name     Wade Name            Last Name




  25. Have you notified any governmental unit of any release of hazardous material?

      Ei No
      U       Yes. Fill in the details.
                                                               Governmental unit                        Environmental law if you know it                   Date of notice




               Name of site                                   Governmental unit

               Number Street                                   Number Street


                                                               City                 State ZIP Code

                City                    State     ZIP Code

                                                                                                                              orders.
  zs. Have You been a party in any judicial or administrative proceeding under any environmental law? Include settlements and

      id No
      U       Yes. Fill in the details.
                                                                                                                                                               •Status of the
                                                                    Court or agency                          Nature of the case                                 case

               Case title
                                                                                                                                                               ra Fending
                                                                    Court Nettie
                                                                                                                                                               CI On appeal

                                                                    Number Street                                                                              U Concluded


               Case number                                          City                  State ZIP Code


                          Give Details About Your Business or Connections to Any Business
 =I
   27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
              A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
               U A member of a limited liability company (LLC) or limited liability partnership (LL')
               U A partner in a partnership
               U     An officer,- director, or managing executive of a corporation

               U An owner of at least 5% of the voting or equity securities of a corporation

          RI No. None of the above applies. Go to Part 12
          U    Yes. Check all that apply above and fill in the details below for each business
                                                                    Describe the nature of the business                       Employer identification number
                                                                                                                              Do not include Social Security number or MN.
                   Business Name

                                                                                                                              EIN:
                   Number Street
                                                                    Name of accountant or bookkeeper


                                                                                                                              From
                   City                   State    ZIP Code
                                                                      Describe the nature of the business                     Employer Identification number
                   Business Name                                                                                              Do not include Social Security number or MN.



                   Number Street
                                                                      Name of accountant or bookkeeper                        Dates business existed


                                                                                                                              From               To
                   City                   mato     ZIP Code

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Debtor .1          Wyllesha C Cur
                     FININama       PAidde Name          Leal Name
                                                                                                          Case number we...4



                                                                                                                       Employer identification number
                                                                 Describe the nature of the business
                                                                                                                       Do not include Social Security number or ITIN.
                 Business Name
                                                                                                                       EIN:

                 Number    Street
                                                                     Name of accountant or bOokki.teper                Dates business axis




                                                                                                                        From
                                         State    ZIP Code


                                                                                                                                                     ,
  28, Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
      institutions, creditors, or other parties.

                No
      1.3 Yea. Fill in the details below.

                                                                     Date Issued



                 Name                                                •   I DD Yr("Y


                 Number    Street




                                          State   ZIP Code




                       Sign Below
 1 2111
      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341,1519, and 3571.




                 Date                                                                 Date
            Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

            if       No
            La Yes


            Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
            g No
            •     Yes. Name of person                                                                            . Attach the Bankruptcy Petition Preparers Notice,
                                                                                                                   Declaration, and Signature (Official Form 119).




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Fill in this information to iddfitify your case and this filing:


Debtor 1          VVyllesha C Curry
                      Frst Name                   Middle Name                     Lest Name

Debibt 2
(Spouse, if filing) Frst Name                     Mid* Name                       Last Name

United States Bankruptcy Court for the: Northern District of Georgia

Case number
                                                                                                                                                 ID Check if this is an
                                                                                                                                                    amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                           12/16
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.


ell             Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    el No. Go to Part 2.
    0     Yes, Where is the property?
                                                                           What is the property? Check all that apply,
                                                                                                                            Do not deduct secured dairy% or exemptions. Put
                                                                           U Single-family home                             the amount of any secured claims on Schedule
                                                                                                                            Creditors Who Have Claims Secured by Property.
                                                                           • Duplex or multi unit building
               Street address, if available, or other description
                                                                           ZI   Condominium or cooperative                  Current value of the     Current value of the
                                                                           O Manufactured or mobile home                    entire property?         portion you own?
                                                                           L3    Land
                                                                           CI    Investment property.
                                                                           C3    Timeshare                                  Describe the nature of your ownership
               City                            State      ZIP Code                                                          interest (such as fee simple, tenancy by
                                                                           •     Other
                                                                                                                            the entireties, or a life estate), if known.
                                                                           Who has an interest in the property? Check one
                                                                           El Debtor 1 only
               County                                                           Debtor 2 only
                                                                           El Debtor 1 and Debtor 2 only                    D Check if this is community property
                                                                                                                              (see instructions)
                                                                                At least one of the debtors and another
                                                                           Other information you wish to add about this item, such as local
                                                                           property identification number
    If you own or have more than one, list here:
                                                                       What is the property? Check all that apply.
                                                                                                                            Do not deduct secured claims or exemptions, Put
                                                                       U Single-family home                                 the amount of any secured claims on Schedule a
        1.2.                                                                                                                Creditors Who Have Claims Secured by Properly
                                                                       C:1 Duplex or multi unit building
               Street address, If available, or other description
                                                                       •        Condominium or cooperative                  Current value of the      Current value of the
                                                                       •        Manufactured or mobile home                 entire property?          portion you own?
                                                                0.00
                                                                       El Land                                              $                         $
                                                                       O Investment property
                                                                                                                            Describe the nature of your ownership
               City                            State      ZIP Code
                                                                       LI       Timeshare
                                                                                                                            interest (such as fee simple, tenancy by
                                                                       O Other                                              the entireties, or a life estate), if known.
                                                                       Who has an interest in the property? Check one.
                                                                          Debtor 1 only
               County                                                  Ca Debtor 2 only
                                                                          Debtor 1 and Debtor 2 only                            Check if this is community property
                                                                       ta At least one of the debtors and another               (see instructions)

                                                                       Other Information you wish to add about this Item, such as local
                                                                       property identification number:


 Official Form 106A/B                                                      Schedule NS: Property                                                              page 1
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Debtor 1        Wyllesha C Curry                                                                           Case number (if known)
                  Slat Name      Middle Name            Last Name




                                                                    What is the property? Check all that apply.                Do not deduct secured claims or exemptions. Put
                                                                         Single-farNlY home                                    the amount of any secured claims on Schedule Lk-
    1.3                                                                                                                        Creditors Who Have Claims Secured by Property.
           Street address. if available, or other description       CI   Duplex or multi-unit building
                                                                         Condominium or cooperative                            Current value of the        Current value of the
                                                                                                                               entire property?            portion you own?
                                                                         Manufactured or mobile home
                                                                    LI    Land
                                                                    LI   Investment property
           City                            State      ZIP Code      U     Timeshare                                            Describe the nature of your ownership
                                                                                                                               Interest (such as fee simple, tenancy by
                                                                    El Other                                                   the entireties, or a life estate), if known,
                                                                    Who'has an interest in the property? Check one.
                                                                    CI Debtor 1 only
           County
                                                                    U Debtor 2 only
                                                                         Debtor 1 and Debtor 2 only                            U Check if this is community property
                                                                                                                                      (see instructions)
                                                                    0 At least one of the debtors and another
                                                                    Other information you wish to add about this item, such as local
                                                                    property identification number:


  Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
  you have attached for Part 1. Write that number here                                                                                              4




En           Describe Your Vehicles



Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
   RI No
          Yes

                                                                     Who has an interest in the property? Check one.            Do riot deduct secured claims or exemptions, put
    3.1.    Make:
                                                                                                                                the amount of any seethed claims on Schedule D:
            Model:
                                                                     U Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
                                                                          Debtor 2 only
            Year.                                                                                                               Current value of the        Current value of the
                                                                     U Debtor 1 and Debtor 2 only                               entire property?            portion you own?
            Approximate mileage:                                          At least one of the debtors and another
            Other information:
                                                                     U Check if this is community property (see
                                                                       instructions)



    If you own or have more than one, describe here:

            Make:                                                    Who has an interest In the property? Check one.            Do not deduct secured dairris o
    3.2.                                                                                                                                                       rexemptions.
                                                                                                                                the amount of any secured claims  on SchedulePut
                                                                                                                                                                              0:
            Model:
                                                                     U Debtor 1only                                             Credit= who eve Claims Secured by Properly.
                                                                     tp Debtor 2 only
            Year                                                                                                                    Current value of the    Current value of the.
                                                                     U Debtor 1 and Debtor 2 only                                   entire property?        portion you own?
            Approximate mileage:                                     U At least one of the debtors and another
            Other information:
                                                                        CI Check if this is community property (see
                                                                          instructions)




  Official Form 106A/8                                                  Schedule A/B: Property                                                                     page 2
              Case 22-55595-jwc                Doc 1 Filed 07/22/22 Entered 07/25/22 09:43:48                                               Desc
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Debtor I      Wyllesha C Curry                                                                  Case number oriu.n)
               Fist Nam.        Middis Name    Last Name




           Make;                                           Who has an interest in the property? Check one        Do not deduct secured claims or exemptions. Put
                                                                                                                 the amount of any secured claims on Schedule 0:
           Model:                                          LI Debtor 1 only                                      Creditors VVho Have Claims Secured by Property.
                                                             Debtor 2 only
           Year:                                                                                                 Current value of the      Current value of the
                                                           U Debtor 1 and Debtor 2 only
           Approximate mileage:                                                                                  entire property?          portion you own?
                                                             At least one of the debtors and another
           Other information:
                                                           1:1 Check if this Is community property (see
                                                               instructions)


   3.4. Make:                                              Who has an interest in the property? Check one.       Do not deduct secured claims or exemptions. Put
                                                                                                                 the amount of any secured claims on Schedule D:
           Model:                                          13 Debtor 1 only                                      Creditors Who Have Claims Secured by ProPer4t,
                                                           U Debtor 2 only
           Year:                                                                                                 Current value of the      Current value of the
                                                           U Debtor 1 and Debtor 2 only                          entire property?          portion you own?
           Approximate mileage:                            U At least one of the debtors and another
           Other information:
                                                           Li Check if this is community property (see
                                                              instructions)




4 Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, arid accessories
  Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   ij No
   U Yes

                     N/A                                   Who has an interest in the property? Check one,        Do not deduct secured claims or exemptions. Put
    4.1. Make:
                                                                                                                  the amount of any secured claims On .Schedule
           Model:                                          U Debtor 1 only                                        Creditors Who Have Claims Secured by Property,
                                                             Debtor 2 only
           Year:
                                                           U Debtor 1and Debtor 2 only                            Current value of the      Current value of the
           Other information:                                At least one of the debtors and another              entire Property?          portion you own?

                                                            LI Check if this is community property (see
                                                               instructions)



    If you own or have more than one, list here:
                                                            Who has an interest in the property? Check one,       Do not deduct secured claims or exemptions. Put
     4.2. Make:
                                                                                                                  the amount of any secured claims on Schedule D:
                                                               Debtor 1 only                                      Creditors Who Have Claims Secured by Property
            Model:
                                                            ID Debtor 2 only
            Year:                                                                                                 Current value of the      Current value of the
                                                            U Debtor 1 and Debtor 2 only                          entire property?          portion you own?
            Other information:                                 At least one of the debtors and another

                                                            1:1 Check if this is community property (see
                                                               instructions)




 5 Add the dollar value of the portion you own for all of your entries from Part 2 including any entries for pages
   you have attached for Part 2. Write that number here




  Official Form 106M3                                        Schedule A/B: Property                                                                  page 3
                Case 22-55595-jwc               Doc 1 Filed 07/22/22 Entered 07/25/22 09:43:48                                            Desc
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Debtor 1        VVyllesha C Curry                                                              Case number (,rkr.wn)
                  Fest Nemo       Middle Name   Lost   rogne


Part 3:       Describe Your Personal and Household Items
                                                                                                                                   Current value Of the
Do you own or have any legal or equitable interest in any of the following items?                                                  portion you ow
                                                                                                                                   Do not deduct secured claims
                                                                                                                                   or exemptions.

s. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     U No
     Wi Yes. Describe...-.... Furniture                                                                                                               500.00

7,   Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers scanners; music
                collections:. electronic devices including cell phones, cameras, media players, games
      • No
      U Yes. Describe.........

a, Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
              stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
      IJ No
      U Yes. Describe

s. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
      VI No
      U Yes. Describe.......J


 ie. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
     • No
     U Yes. Describe..........

 11 Clothes
      Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      U No
      Ca Yes. Describe                                                                                                                                 200.00


 12. Jewelry

      Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
                gold, silver
      • No
      U Yes. Describe..........

 13. Non-farm animals
      Examples: Dogs, cats, birds, horses
       Vi No
       LI Yes. Describe.....

 14 Any other personal and household items you did not already list, including any health aids you did not list

       WI No
       U. Yes. Give specific
          information. .............

 15 Add the dollar value of all of your entries from Part 3, Including any entries for pages you have attached                                          700.00
    for Part 3. Write that number here ..... .     .. . .   .. .        .......      ...... ................ .... ...     ......



     Official Form 106N6                                       Schedule A/13: Property                                                            page 4
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Debtor 1     Wyllesha C Curry                                                                Case number Of kntivn)
                 Nome•      Mekite Nen.          List Name




Part 4:    Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?                                                         Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured claims
                                                                                                                                   •or exemptions.

16.Cash
   axamples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   U No
   cil Yes                                                                                                    Cash:                                     6.72



17.Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
   Z1 No
   D Yes ....    . ..                                         Institution name:


                             17.1. Checking account:

                             17.2. Checking account:

                             17.3. Savings account

                             17.4. Savings account

                             ;7.5. Certificates of deposit

                             17.6. Other financial account

                              17,7. Other financial account

                              17.8. Other financial account

                              17.9. Other financial account




 18. Bonds, mutual funds, or publicly traded stocks
     Examples: Bond funds, investment accounts with brokerage firms, money market aCcounts
    id NO
    D Yes                     Institution or issuer name:




 19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
     an LLC, partnerships and joint venture
    Zi No                     Name of entity:                                                                  % of ownership:
     J Yes. Give specific                                                                                      0%         %
       information about
       them                                                                                     •               0%         %          $
                                                                                                                0%         %




  Official Form 106A/B                                        Schedule NB: Property                                                                page 5
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Debtor 1        Wvilesha C Curry                                                              Case number prmowo
                 Fkil Name   Middle Name            Last N41110




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

   0     No
   El Yes. Give specific     Issuer name:
      information about
      them




21.Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

   93. No
         Yes. List each
         account separately. Type of account            Institution name:

                              401(k) or similar plan:

                              Pension plan:

                              IRA:

                              Retirement account:

                               <eogh:

                              Additional account:

                              Additional account:



 22.Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company.
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

    14 No
    El Yes                                          Institution name or individual:
                               Electric:
                               Gas:
                               Heating oil:

                               Security deposit on rental unit
                               Prepaid rent

                               Telephone.

                               Water:

                               Rented furniture:

                               Other,



 23.Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

           Na
       U Yes.........          Issuer name and description:




  Official Form 106NB                                             Schedule NB: Property                                                 page 6
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Debtor 1         Wyllesha C Curry                                                                 Case number rr1kmy...4
                  Fast Name     WON Name             UN Name




24 Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified State tuition program.
   26 U,S.C. §§ 530(b)(1), 529A(b), and 529(0(1).
   VI No
   CI Yes                              Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):




25, Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit
          No
   O Yes. Give specific
     information about them


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    •     No
    U Yes. Give specific
      information about them_.


27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

           No
    U Yes. Give specific
      information about them....1                                                                                                           $


 Money or property owed to you?                                                                                                             Current value of the
                                                                                                                                            portion you own?
                                                                                                                                            Do not deduct secured
                                                                                                                                            claims or exemptions.

 28, Tax refunds owed to you
           No
        Li Yes. Give specific information                                                                            Federal:
                 about them, including whether      i
                 you already filed the returns      l                                                                State:
                 and the tax years......     . ..
                                                                                                                     Local:



 29.Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement property settlement
        ZI No
            Yes. Give specific information                                                                        1 Alimony;

                                                                                                                     Maintenance:
                                                                                                                     Support
                                                                                                                     Divorce settlement:
                                                                                                                     Property settlement:

  30.Other amounts someone owes you
     Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
               Social Security benefits; unpaid loans you made to someone else
            No
        U Yes. Give specific information.......     ..1
                                                                                                                                                                0.00


   Official Form IO6NB                                           Schedule NB: Property                                                                 page 7
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Debtor        Wyllesha C Curry                                                                         Case number (,ftow.)
               Firm Name       /Addle Noma          Unt Name




31. Interests in Insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowners, or renters insurance
   O No
   U Yes. Name the insurance company            Company name:                                             Beneficiary:                              Surrender or refund value:
          of each policy and list its value....




 2. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
    property because someone has died.
   O No
   U Yes. Give specific information...        .


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
    O No
    • Yes. Describe each claim.
                                                                                                                                             'is
34, Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
    to set off claims
    0 No
    U Yes. Describe each claim




 35. Any financial assets you did not already list
    0 No
    U Yes. Give specific information............


• 36 Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4, Write that number here                                                                                                                                   6.72




11111          Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37 Do you own or have any legal or equitable Interest in any, business-related property?
    O No. Go to Part 6.
    U Yes. Go to line 38.

                                                                                                                                                   Current value of the
                                                                                                                                                   portion you own?
                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                   or exemptions.
 38. Accounts receivable or commissions you already earned
    •    No
    •    Yes. Describe


 39. Office equipment, furnishings, and supplies
     Examples: Business-related computers, software, modems, pointers, copiers, fax machines rugs, telephones, desks, chairs, electronic devices




  Official Form 106A/B                                           Schedule AIB: Property                                                                          page 8
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 Debtor I        Wyllesha C Curry                                                             Case number (now)
                  First Name     tiddle Name



40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
          No
    Ci Yes. Describe,


4i.Inventory
    Li No               1
    ID Yes. Describe ..

 AZ Interests in partnerships or joint ventures
    •     No
    CI Yes. Describe             Name of entity:                                                              % of ownership:




 43. Customer lists, mailing lists    or other compilations
     •      No
            Yes. Do your lists include personally Identifiable information (as defined in 11 U.S.C. § 101(41A))?
                 U No
                 U Yes. Describe


• 44. Any  business-related property you did not already list
        O No
        0 Yes Give specific
          information




  45.Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                         0.00
     for Part 5. Write that number here .. ..          .                 . .... . . .....         .    . . ...         ...,....




111              Describe Any Farm-and Commercial Fishing-Related Property You Own or Have an interest In.
                 If you own or have an interest in farmland, list it in Part 1.

  46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
      621 No. Go to Part 7.
      U Yes. Go to line 47.
                                                                                                                                  Current value of the
                                                                                                                                  portion you own?
                                                                                                                                  Do not deduct secured claims
                                                                                                                                  or exemptions.
  47. Farm animals
         Examples:   Livestock, poultry, farm-raised fish
         U No
         U Yes




   Official Form 106M3                                        Schedule NB: Property                                                            page 9
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Debtor           VVyilesha C Curry                                                          Case number (dknown)
                  Ft Name        Middle Name      Last Ngme




48. Crops—either growing or harvested
           No
           Yes. Give specific
           information.

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
   C..-1
       No
   CI  Yes



50 Farm and fishing supplies, chemicals, and feed
   J No


51.Any farm- and commercial fishing-related property you did not already list
      No
   LI Yes. Give specific —
      information

52.Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
   for Part 6. Write that number here                                                                                    4




USI              Describe All Property You Own or Have an Interest In That You Did Not List Above


53.Do you have other property of any kind you did not already list?
   Examples: Season -tickets, country club membership

    el No
            Yes, Give specific
            information.




 54.Add the dollar value of all of your entries from Part T. Write that number here                                      4                      0.00


 Part 8:         List the Totals of Each Part of this Form


 55 Part 1: Total real eshrte, line 2                                                                                                         0.00

 56.Part 2: Total vehicles, line 5                                                       0.00

 57.Part 3: Total personal and household items, line 15                                700.00

 58.Part 4: Total financial assets, line 36                                              6.72

 513. Part 5: Total business-related property, line 45                                   0.00

 60. Part 6:    Total farm- and fishing related property, line 52                        0.00

 61.Part 7: Total other property not listed, line 54                     +$              0.00

 sz Total personal property. Add lines 56 through 61. . . ...                          706.721 Copy personal property total 3   $            706.72


 63.Total of all property on Schedule A/B. Add line 55 +line 62                                                                              706.72


  Official Form 106A/B                                        Schedule A/B: Property                                                       page 10
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 Fill in this inforfnation to identify your case:

 Debtor 1           VVyllesha C Curry
                     Fest Name             Middle NAM*                  Lest Name

 Debtor 2
 iSPOUFei If filing) First Norse           Middle Name                  Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number                                                                                                                             El Check if this is an
 (If known)
                                                                                                                                            amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                           04/22

Be as complete and accurate as possibte. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


1=11              Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      C-.1 You are claiming state and federal nonbankruptcy exemptions 11 U.S.C. § 522(b)(3)
      0 You are claiming federal exemptions, 11 US.C. § 522(b)(2)


 2. For any property you list on Schedule NB that you claim as exempt, fill in the information below.


        Brief description of the property and line on    Current ValUe of the       Amount of the exemption you claim         Specific laws that allow exemption
        Schedule NB that lists this property             portion you own
                                                         Copy the value from        Check only one box for each exernption.
                                                         Schedule NI3

       Brief
       description:                                                                   $
       Une from                                                                     0 100% of fair market value, up to
       Schedule 1/B:                                                                  any applicable statutory limit

       Brief
       description:                                                                 CI $
       tine from
                                                                                    0 100% of fair market value, up to
       Schedule A/B:                                                                    any applicable statutory limit

       Brief
       description:                                                                 Us
       Line from                                                                     0 100% of fair market value, up to
       Schedule A/B.                                                                   any applicable statutory limit


  3. Are you claiming a homestead exemption of more than $180,050?
     (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment)
       if No
       CI Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                    No
             0      Yes


 Official Form 106C                                       Schedule C: The 1:ropetty You Claim as Exempt                                            page 1 of
             Case 22-55595-jwc                  Doc 1 Filed 07/22/22 Entered 07/25/22 09:43:48                                         Desc
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Debtor 1       Wyllesha C Curry                                                                 Case number pf known)
              First Name        'AWN Name       Last Name




gail          Additional Page

       Brief description of the property and line       Current value of the   Amount of the exemption you elaim        Specific laws that allow exemption
       on Schedule A/13 that lists this property        portion you own
        •                                               Copy the value from    Check only one box for each exemption
                                                        Schedule NB
     Brief
     description:                                                                    $
     Line from                                                                 El 100% of fair market value, up to
     Schedule NB:                                                                    any applicable statutory limit

     Brief
     description:          Furniture & Cash                                    Us
     Line from                                                                 .6
                                                                                %1000/o of far
                                                                                             i market value, up o
                           62                                                    any applicable statutory limit
     Schedule A/B:

     Brief
     description:
                                                                        N/A    Li s
     Line from                                                                 0 100% of fair market value, up to
     Schedule NB:                                                                    any applicable statutory limit

     Brief
     description:                                                                    $
     Line from                                                                 U 100% of fair market value, up to
     Schedule A/B:                                                                   any applicable statutory limit

     Brief
     description:                                                                    $
     Line from                                                                 U 100% of fair market value, up to
     Schedule /t/B:                                                                  any applicable statutory limit


     Brief
     description:                                                                    $
      Line from                                                                U 100% of fair market value, up to
      Schedule A/B:                                                                  any applicable statutory limit

      Brief
      description:                                                                  Us
      Line from                                                                 LI 100% of fair market value, up to
      Schedule AM:                                                                   any applicable statutory limit

      Brief
      description:                                                               Os
      Line from                                                                 II 100% of fair market value, up to
      Schedule A/B:                                                                  any applicable statutory limit


       Brief
       description:                                                                  $
       Line from                                                                U 100% of fair market value, up to
       Schedule A113:                                                                any applicable statutory limit

       Brief
       description:                                                             Us
       Line from                                                                LI 100% of fair market value, up to
       Schedule A/B:                                                                 any applicable statutory limit

       Brief
       description:                                                                  $
       Line from
                                                                                0 100% of fair market value, up to
       Schedule A/B:                                                                 any applicable statutory limit


       Brief
       description:                                                             Us
       Line from
                                                                                CI 100% of fair market value, up to
       Schedule NB:                                                                any applicable statutory limit



 Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                      page 2
                   Case 22-55595-jwc                             Doc 1 Filed 07/22/22 Entered 07/25/22 09:43:48                                                       Desc
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  Fill in this information to identify your case:


  Debtor 1           Wyllesha C Curry
                      first Name                        Middle Name                         Lea Name

  Debtor 2
  (Spouse, If         Fee Name                          Middle Name                         Laid Name


  United States Bankruptcy Court for the: Northern District of Georgia

  Case number
  lit mown)                                                                                                                                                        CI Check if this is an
                                                                                                                                                                      amended filing

  Official Form 106D
  Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                       12/15

  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
  Information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach itto this form, On the top of any
  additional pages write your name and case number (if known).

 1. Do any creditors have claims secured by your property?
    RI No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
    U Yes, Fill in all of the information below.

=el                List     All Secured Claims
                                                                                                                                         Column A          Column B              Column C
  2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount of claim                                  Value of collateral   Unsecured I
     for each                          one creditor has a particular claim, list the other creditors in Part 2- Do not deduct the                          that supports this    portion
1        much
            chdeasim
                   Poss
                      ifib       ttahneclaims in alphabetical order according to the creditor's name.
                         mle7listh                                                                              value of c011ateral.                       claim                 If any

  2.1                                                             Describe the property that secures the claim:
          Creditors llama

          Number            Street
                                                                      As of the date you file, the claim is: Check all that apply.
                                                                      •      Contingent
                                     0.00                             •      Unliquidated
          City                              State   ZIP code          •      Disputed
     Who owes the debt? Check one.                                    Nature of lien. Check all that apply,
     D Debtor 1 only                                                  CIAn agreement you made (such as mortgage or secured
     O Debtor 2 only                                                    car loan)
     O Debtor 1 and Debtor 2 only                                     O Statutory lien (such as tax lien, mechanic's lien)
     O At least one of the debtors and another                        O Judgment lien from a lawsuit
                                                                      U Other (including a right to offset)
     O Check if this claim relates to a
       community debt
     Date debt was incurred                                           Last 4 digits of account number
                                                                      Describe the property that secures the claim:                                 0.00     $
          Creditors Name

          Number            Street
                                                                          As of the date you file, the claim is: Check all that apPIV,
                                                                          O Contingent
                                                                          • Unliquidated
           Oily                             State   ZIP Code              O Disputed
     Who awes the debt? Check one.                                        Nature of lien, Check all that apply.
     •       Debtor 1 only                                                U An agreement you made (such as mortgage or secured
     O Debtor 2 only                                                        car loan)
     •       Debtori and Debtor 2 only                                    O Statutory lien (such as tax lien, mechanic's lien)
      •      At least one of the debtors and another                      O Judgment lien from a lawsuit
                                                                          O Other (including a right to offset)
      O Check if this claim relates to a
        community debt
      Date debt was incurred                                              Last 4 digits of account number

           Add the dollar value of your entries in Column •A on this page. Write that number here:
                                                                                                ..                                       +
                                                                                                                                         .              1
                                                                                                                                                       -...
    Official Form 106D                                      Schedule D: Creditors Who Have Claims Secured by Property                                                     page 1 of
                 Case 22-55595-jwc                       Doc 1 Filed 07/22/22 Entered 07/25/22 09:43:48                                                      Desc
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Debtor 1          Wyllesha C Curry                                                                              Case number rikrioi;0
                   Fest Name       Midd* Nam.            Last Name


                                                                                                                           Column A               Column B              Column C
                Additional Page
                                                                                                                           Amount at claim        Value of collateral   Unsecured
                After listing any entries on this page, number them beginning with 2.3, followed                           Do not deduct:the      that SupportalhiS     portion
                •by 2.4, and so forth.                                                                                     value of collateral.                            y

                                                         Describe the property that secures the claim:
      Creditor's Name

      Number            Street

                                                         As of the date you file, the claim is: Check all that apply.
                                                         U Contingent
       City                        State     ZIP Cede    • Unliquidated
                                                         U Disputed
  Who owes the debt? Check one.                          Nature of lien. Check all that apply.
  •      Debtor 1 only                                    U An agreement you made (such as mortgage or secured
  • Debtor 2 only                                           car loan)
  O Debtor 1 and Debtor 2 only                            U Statutory hen (such as tax lien, mechanic's lien)
  • At least one of the debtors and another               U Judgment lien from a lawsuit
                                                          U Other (including a right to offset)
  U Check if this claim relates to a
    community debt

  Date debt was incurred                                  Last 4 digits of account number


                                                          Describe the property that secures the claim:
       Creditor's Name

       Number            Street
                                                          As of the date you file, the claim is: Check all that apply.
                                                          U Contingent
                                                          • Unliquidated
        City                        State    ZIP Code     U Disputed
      Who owes the debt? Check one.                       Nature of lien. Check all that apply.
      U Debtor 1 only                                      •An agreement you rnade (such as mortgage or secured
      O Debtor 2 only                                       car loan)
      U Debtor 1 and Debtor 2 only                        U Statutory lien (such as tax lien, mechanic's lien)
      U At least one of the debtors and another            LI Judgment lien from a lawsuit
                                                           Li Other (Including a right to offset)
      Cl Check if this claim relates to a
         community debt

      Date debt was incurred                               Last 4 digits of account number

                                                           Describe the property that secures the claim:
        Creditor's Name

        Number            street

                                                               As of the data you file, the claim is: Check all that apply.
                                                               U Contingent
        City                         State    ZIP Code         • Unliquidated
                                                               • Disotxted
      Who owes the debt? Check one.                            Nature of lien_ Check all that apply.
      U Debtor 1 only                                          U An agreement you made (such as mortgage or secured
      El Debtor 2 only                                           car loan)
      El Debtor 1 and Debtor 2 only                            U Statutory lien (such as tax lien, mechanic's lien)
      U At least one of the debtors and another.               •   Judgment lien from a lawsuit
                                                               U Other (including a right to offset)
      O Check if this claim relates to a
        community debt
       Date debt was incurred                                  Last 4 digits of account number

               Add the dollar value of your entries in Column A on this page. Write that number here:
               If this is the last page of your form, add the dollar value totals from all pages.


      Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page
                   Case 22-55595-jwc                    Doc 1 Filed 07/22/22 Entered 07/25/22 09:43:48                                      Desc
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Debtor -1          Wyllesha C Curry                                                              Case number
                     Fitst mow       atefele Name       last tems


=co ust                     Others to Be Notified for a Debt That You Already Listed

  Use this page only if you have others to be notified about your bankruptcy fora debt that you already listed in Part 1. For example, if a collection
  agency Is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency bete. Similarly,if
• you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional poisons to
• be notified for any debts in Part 1, do not fill out or submit this page.

                                                                                            On which line in Part 1 did you enter the creditor?

       Name                                                                                 Last 4 digits of account number


       Number             Street




        City                                               State         ZIP Code

                                                                                            On which line in Part 1 did you enter the creditor?

        Name                                                                                Last 4 digits of account number


        Number             Street




        City                                                State        ZIP Code

                                                                                            On which line in Part I did you enter the creditor?     N/A
        Name                                                                                Last 4 digits of account number


        Number             Street




        City                                                State        ZIP Code

                                                                                             On which line in Part I. did you enter the creditor?

        Name                                                                                 Last 4 digits of account number


            Number         Street




            City                                             State       ZIP Code

                                                                                             On which line in Part 1 did you enter the creditor?

            Name                                                                             Last 4 digits of account number


            Number          Street




            City                                             State       ZIP Code
                                                                                                                            z


                                                                                             On which line in Part 1 did you enter the creditor?
            Name                                                                             Last 4 digits of account number


            Number          Street




            City                                             State        ZIP Code



  Official Form 106D                                Part 2 of Schedule   Creditors Who Have Claims Secured by Property                         page
                Case 22-55595-jwc                         Doc 1 Filed 07/22/22 Entered 07/25/22 09:43:48                                                   Desc
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 Fill in this information to identify your case:

 Debtor 1         Wyllesha C Curry
                    Feet Name                     Middle Name                List-Name
 DebtOr 2
 (Spouse, If filing) Fest Name                    Middle Name                Last Name

  United States Bankruptcy Court for the: Northern District of Georgia
                                                                                                                                                       U Check if this is an
  Case number
  (If known)                                                                                                                                             amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
NEI: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule 1:).! Creditors Who Have Claims Secured by Property. If more space Is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known),

 Part 1:        List AU of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecuisrl clahns against you?
       No. Go to Part, 2.
       1:1 Yes.
 2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
    each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
    nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
    unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                     Total claim   Priority       Nonpriority
                                                                                                                                                   amount         amount

11
                                                                      Last 4 digits of account number
        Pnonty Creditor's Name
                                                                      When was the debt Incurred?
        Number          Street
                                                                      As of the date you file, the claim is: Check at that apply.
                                   0.00                               U Contingent
         City                             Stale     ZIP Code
                                                                      • Unliquidated
         Who incurred the debt? Check one,                            • Disputed
         0 Debtor 1 only
         1:1 Debtor 2 only                                            Type of PRIORITY unsecured claim:
             Debtor I. and Debtor 2 only                              CII Domestic support obligations
         El At least one of the debtors and another
                                                                      (3 Taxes and certain other debts you owe the government
         El Check if this claim is for a community debt               CI Claims for death or personal injury while you were
         Is the claim subject to offset?                                  Intoxicated
         d   No                                                       LI Other. Specify
         El Yes

12.2                                                                  Last 4 digits of account number                                         0.00 $
         Priority Creditors Name
                                                                      When was the debt incurred?
         Number          Street
                                                                      As of the date you file, the claim is: Check all that apply,
                                                                      U Contingent
         City                             Stale      ZIP Code         CI Unliquidated
         Who incurred the debt? Check one.                            CI Disputed
         U Debtor. 1 only
                                                                      Type of PRIORITY unsecured claim:
         El Debtor 2 only
                                                                       O Domestic support obligations
         O Debtor 1 and Debtor 2 only
                                                                       13 Taxes and certain other debts you owe the government
            At least one of the debtors and another
                                                                       O Claims for death or personal injury while you were
          0 Check if this claim is for a community debt                   intoxicated
          Is the claim subject to offset?                              • Other. Specify
          El No
              Yes


  Official Form 106E/F                                          Schedul VP, Creditors Who Have Unsecured Claims                                               page 1 of
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Debtor 1              Wyliesha C Curry                                                                                 Case number r,t
                           Fest Name       Middle Name           Last Name


Part 1:                   Your PRIORITY Unsecured Claims — Continuation Page

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                                          Total claim   Priority    Nonprtority
                                                                                                                                                              amount      amount


                                                                             Last 4 digits of account number
     Priority Creditors Name
                                                                             When was the debt incurred?
     Number                     Street
                                                                             As of the date you file, the claim is: Check all that apply.
                                                                             O Contingent
     City                                         State     ZIP Code         • Unliquidated
                                                                             •        Disputed
     Who incurred the debt? Check one.
      •           Debtor 1 only                                              Type of PRIORITY unsecured claim:
      U Debtor 2 only
                                                                                      Domestic support obligations
      0 Debtor 1 and Debtor 2 only                                                    Taxes and certain other debts you owe the government
                  At least one of the debtors and another
                                                                                Claims for death or personal injury while you were
                                                                                intoxicated
      Ci Check if this claim is for a community debt
                                                                             CI Other. Specify
      Is the claim subject to offset?
      O No
        Yes


                                                                             Last 4 digits of account number
      Priority Cre5tprs Name
                                                                             When was the debt incurred?
          Number                 Street
                                                                                 As of the date you file, the claim is; Check all that apply.

                                                                                 O Contingent
          City                                     State    ZIP Code                  unuquidated
                                                                                 O Disputed
          Who incurred the debt? Check one.
          LI Debtor 1 only                                                       Type of PRIORITY unsecured claim:
          • Debtor 2 only                                                        O Domestic support obligations
          O Debtor 1 and Debtor 2 only
                                                                                 LI   Taxes and certain other debts you owe the government
          0 At least one of the debtors and another                              O Claims for death or personal injury while you were
                                                                                   intoxicated
          U Check if this claim is for a community debt
                                                                                 • Other. Specify
          Is the claim subject to offset?
          0          No
                     Yes

                                                                                 Last 4 digits of account number
          Priority Creditor's Name
                                                                                 When was the debt incurred?
          Number                  Street
                                                                                 As of the date you file, the claim is; Check all that apply.
                                                                                 O Contingent
              City                                  State    ZIP Code            •     Unliquidated
                                                                                 •     Disputed
              Who incurred the debt? Check one.
              O Debtor 1 only                                                    Type of PRIORITY unsecured claim:
              O Debtor 2 only                                                     O Domestic support obligations
              O Debtor 1 and Debtor 2 only
                                                                                  •  Taxes and certain other debts you owe the government
              U At least one of the debtors and another                           •  Claims for death or personal injury while you were
                                                                                     intoxicated
              1.1 Check if this claim is for a community debt
                                                                                   • Other. Spea,

              Is the claim subject to offset?
              •      No
                     Yes


 Official Form 106E/F                                                  Schedule EJF: Creditors Who Have Unsecured Claims                                                   page
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Debtor 1          VVyllesha C Curry                                                                       Case number (1?
                    First Name-    Me Hare' "              LASI Name.

 Part 2:       List AU of Your NONPRIORITY Unsecured Claims

 3 Do any creditors have nonPrioritY unsecured claims against you?
   D No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      Yes

       List all Of your nonPriOrity unsecured claims in the alphabetical Order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Patti. If more than one creditor holds a particular claim list the other creditors in Part 3.1f you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                              Total Claim
4.1      ADS/COIVIENITY/ULTA                                                          Last 4 digits of account number
         Nonoriority. Creditor's Name
                                                                                                                                                                    1,168.00
                                                                                      When was the debt incurred?           01/29/2022
         Number           Street
         COLUMBUS                                         OH             43218
         City  •                                         State          ZIP Code      As of the date you file, the claim is: Check all that apply.

                                                                                      U Contingent
         Who incurred the debt? Check one,                                            • Unliquidated
           Debtor 1 onty                                                              U Disputed
         U Debtor 2 only
           Debtor 1 and Debtor 2 only                                                 Type of NONPRIORITY unsecuredclaim:
         0 At least one of the debtors and another                                     O Student loans
                                                                                       O Obligations arising out of a separation agreement or divorce
         U Check if this claim is for a community debt
                                                                                         that you did not report as priority claims
         Is the claim subject to offset?                                               O Debts to pension or profit-sharing plans, and other similar debts
             No                                                                          Other. Specify consumer
             Yes

—1
2        ADS/COMENITYNICTORIA                                                          Last 4 digits of account number
         Nonpriority Creditor's Name                                                   When was the debt incurred?          11/27/2021—

          Number Street
                                                                         43218         As of the date you file, the claim is: Check all that apply.
          COLUMBUS                                        OH
          City                                            State         ZIP Code       CI Contingent
          Who incurred the debt? Check one.                                            O Unliquidated
                                                                                       O Disputed
               Debtor 1 only
          El Debtor 2 only
                                                                                       Type of NONPRIORITY unsecured claim:
          El Debtor. and Debtor 2 only
          1=.1 At least one of the debtors and another                                 O Student loans
                                                                                       O Obligations arising out of a separation agreement or divorce
          U Check if this claim is for a community debt                                   that you did not report as priority claims
          Is the claim subject to offset?                                              O Debts to pension or profit-sharing plans, and other similar debts
          121 No                                                                       RE Other. Specify consumer
          cel Yes
                             .                            —
 4.3
          BANK OF AMERICA                                                              .Last .4 digits of account number
          Nooprionly Creditors Name
                                                                                       When was the debt incurred?           09/05/2014
          PO BOX 982238
          Number Street
          EL PASO                                          TX             79998
                                                                                        As of the date you file, the claim is: Check all that apply,
          City                                            State          ZIP Code
                                                                                        (3 Contingent
          Who incurred the debt? Check one.
                                                                                        • Unliquidated
          V Debtor 1 only                                                               O Disputed
          U Debtor 2 only
          O Debtor 1and Debtor 2 only                                                   Type of NONPRIORITY unsecured claim:
          t7,11 At least one of the debtors and another
                                                                                        CI student loans
              Check if this claim is for a community debt                               O Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority CiairrIS
          Is the claim subject to offset?
                                                                                        0 Debts to pension or profit-sharing plans, and other similar debts
             No
                                                                                        1Wi Other. Specify credit card
           U Yes



 Official Form 106E/F                                             Schedule EP: Creditors Who Have Unsecured Claims                                                   page      ^
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Debtor 1       Wyllesha C Curry                                                                          Case number ofknowni
                First Name           Middle Name      Lee4 Name


Part 2:        Your NOMPRIORITY Unsecured Claims                        Continuation Page


After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth                                                             Total claim



                                                                                    Last 4 digits of account number                                               $       1,285,00
     CAPITAL ONE
     Noriudortly Creditor's Name
                                                                                    When was the debt incurred?              09/06/2020
      PO BOX 31293
     Number           Street
                                                                                    As of the date you file, the claim Is: Check all that apply_
      SALT LAKE CITY                                UT             84131
      City                                          State         ZIP Code          U Contingent
                                                                                    • Unliquidated
      Who incurred the debt? Check one,                                             U Disputed
      V Debtor 1 only
      C:1 Debtor 2 onty                                                             Type of NONPRIORITY unsecured claim:
      0 Debtor 1 and Debtor 2 only                                                  CI Student loans
          At least one of the debtors and another                                   D Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
      0 Check if this claim Is for a community debt                                 •  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                               61 Other. Specify CREDIT CARD
      Eif No
      U Yes



                                                                                    Last 4 digits of account number                                               $       59,178.00
       DEPARTMENT OF EDUCATION/ NELNET
       Nonpriority Creditor's Name
                                                                                     When was the debt incurred?                10/01/2010
       PO BOX 82561
       Number          Street
                                                                                     As of the date you file, the claim is: Check all that apply.
       LINCOLN                                       NE             68501
       City                                         State          ZIP Code          •        Contingent
                                                                                     •        Unliquidated
       Who Incurred the debt? Check one.                                             •        Disputed
       Vf Debtor 1 only
       U Debtor 2 only                                                               Type of•NONPRIORITY unsecured claim:
       0 Debtor 1 and Debtor 2 only                                                           Student loans
       U. At least one of the debtors and another                                    •        Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
       U Check if this claim is fore community debt                                           Debta to pension or profit-sharing plans, and other similar debts
                                                                                     •
       Is the claim subject to offset?                                               O Other. Specify
       Rif No
       0 Yes

                                                                                                                                                                      $    1,381.00
                                                                                         Last 4 digits of account number
        I.0 SYSTEMS INC
        Nonpriority Creditors Name
                                                                                         When was the debt incurred?            10/09/2019
        Number          Street
                                                                                         As of the date you file, the claim is: Check all that apply.

        City                                          State         ZIP Code             •    Contingent
                                                                                         •    Unliquidated
        Who incurred the debt? Check one,                                                El   Disputed
          Debtor 1 only
          Debtor 2 only                                                                  Type of NONPRIORITY unsecured claim:
        0 Debtor 1 and Debtor 2 only                                                     •   Student loans
          At least one of the debtors and another                                        O Obligations arising out of a separation agreement or divorce that
                                                                                             you did not report as priority claims
           U Check if this claim is for a community debt
                                                                                          • Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                   WI Other. Specify
           id No
           U Yes




 Official Form 106E/F                                         Schedule SW: Creditors Who Have Unsecured Claims                                                            page_
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              Your NONPRIORITY Unsecured Claims— Continuation Page


43 Midland Credit Management

320 E Big Beaver RD STE 300

Troy, MI 48083

Amount: $455



4. 8 Sallie Mae Inc.

PO Box 3229

Wilmington DE 19804

Amount :$4662



4. 9 SYNCB/ Lowes

Po Box 965005

Orlando FL 32896

Amount: $800



5.0 Wells Fargo Auto

PO Box 71095

Charlotte NC 28272

$3,497



5.1 Bryant University

Williams 84 Fudge, Inc.

803.366.1664 - 1.800.551.5772

Mailing Address: PO Box 11590 Rock Hill, SC 29731

Account: 6791

Amount: $5,596.15
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5.2 Medical Diagnostic Labs LLC

Account Number: 7645726
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Debtor 1        Wyllesha C Curry                                                                     Case number reker.6
                 Fest Name       Middle Name           Last Name




COI            List Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
   example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts I or
   2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1or 2, list the
   additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

      Bank of America                                                          On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      c/o Hayt Hayt & Landau, PL                                               Line       of (Check one): fj Part 1: Creditors with Priority Unsecured Claims
      Number          Street                                                                               Ef Part 2: Creditors with Nonpriority Unsecured Claims
      8725 Dunwoody Place, Suitel
                                                                               Last 4 digits of account number
      Atlanta                                  ga             30350
      City                                     State               ZIP Code

                                                                               On which entry in Part 1 or Part 2 did you list the original creditor?
      Name
                                                                               Line        of (Check one): 0      Part 1: Creditors with Priority Unsecured Claims
      Number          Street                                                                                •     Part 2: Creditors with Nonpriority Unsecured
                                                                               Claims

                                                                               Last 4 digits of account number
      Car                                      State               ZIP Code

                                                                               On which entry in Part 1 or Part 2 did you list the original creditor?
      Name
                                                                                Line       of (Check one): 1:3 Part 1: Creditors with Priority Unsecured Claims
      Number           Street                                                                               •      Part 2: Creditors with Nonpriority Unsecured
                                                                                Claims

                                                                                Last 4 digits of account number
      City                                     State ,             ZIP Code

                                                                                On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
                                                                                Line       of (Check one): 0 Part 1: Creditors with Priority Unsecured Claims
       Number          Street                                                                                   O Part 2: Creditors with Nonpriority Unsecured
                                                                                Claims

                                                                                Last 4 dIgits of account number
                                                State              ZIP Code

                                                                                On which entry in Part 1 Or Part 2 did you list the original creditor?
       Name
                                                                                Une         of (Check one). 0      Part 1. Creditors with Priority Unsecured Claims
       Number           Street                                                                                  El Part 2: Creditors with Nonpriority Unsecured
                                                                                Claims

                                                                                Last 4 digits of account number
       City

                                                                                On which entry in Part I or Part 2 did you list the original creditor?
       Name
                                                                                Line        of (Check one): 0 Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                                  0 Part 2: Creditors with Nonpriority Unsecured
                                                                                Claims

                                                                                 Last 4 digits of account number
                                                State               ZIP Code
     —RtY
                                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
        Name

                                                                                 Line       of (Check one): 0 Part 1: Creditors with Priority Unsecured Claims
        Number          Street
                                                                                                                La Part 2: Creditors with Nonpriority Unsecured
                                                                                 Claims


        City                                     State              ZIP Code



 Official Form 106E/F                                      Schedule FJF: Creditors Who Have Unsecured Claims                                               page _of _
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Debtor 1   Wyllesha C Curry                                                                Case number (rimp.n)
            Fest Name       Middce Name         Last Name




FM         Add the Amounts for Each Type of Unsecured Claim


6- Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
   Add the amounts for each type of unsecured claim.




                6a. Domestic support obligations
Total claims
"mPart 1        6b. Taxes and certain other debts you owe the
                    government

                Sc. Claims for death or personal injury while you were
                    intoxicated

                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.



                6e.Total. Add lines 6a through 6d.                             6e.




                6f. Student loans                                              6f,                    59,178.00
 Total claims
 from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                     6g.
                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                              sh.

                61. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                                    61.   + $              32,992.00


                6j. Total. Add lines 6f through Si.                            61.
                                                                                                      92,170.00




 Official Form 106E/F                                 Schedule EfF: Creditors Who Have Unsecured Claims                                    Page
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 Fill in this information to identify your case:

 Debtor             Wyllesha C Curry
                    Feat her.               Mid    Name               Lam Name

 Debtor 2
 (Spouse If Ming)   me Name                 Metre Name                Last Name

 United States Bankruptcy Court forte: Northern District of Georgia

 Case number
 hi known)                                                                                                                             U Check if this is an
                                                                                                                                         amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
Information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
            No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
       El Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule AI& Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rant, vehicle lease, cell phone), See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



       Person or company with whom you have the contract or lease,-                            State what the contract or lease is for


2.1
       Name

       Number          Street

       City                              State      ZIP Code

2.2
       Name

       Number           Street

       City                              State
                                          ,         ZIP Code
"2
        Name

        Number          Street

        City                             State      ZIP Code
:2*
        Name

        Number.         Sheet


        7.tity                           State,     ZiP Code
 2.5
        Name

        Number          Street

        City                             State       ZIP Code


 Official Form 106G                               Schedule G: Executory Contracts and Unexpired Leases                                        page 1 of
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Debtor 1          Wyllesha C Curry                                                                 Case number r,rknown)
                   First Nm        MddIa NAMO               Lest Naine




ME                Additional Page if You Have More Contracts or Leases

      Person or company with whom you have the contract or lease                                What the contract or lease

,22
      Name


      Number            Street


      City                                      State      ZIP Code



      Name


      Number            Street


      City                                      State      ZIP Code




       Name


       Number            Street


       City                                     State       ZIP Code


 2
       Name

       Number            Street


       City                                     State       ZIP Code


 2.

       Name


       Number            Street


       City                                      State      ZIP Code




       Name

       Number             Street


       City                                      State      ZIP Code




        Nome


        Number            Street

        City                                     State       ZIP Code



        Name

        Number            Street


           City                                   State      ZIP Code



Official Form 106G                                        Schedule G: Executory Contracts and Unexpired Leases                 page
               Case 22-55595-jwc                           Doc 1 Filed 07/22/22 Entered 07/25/22 09:43:48                                            Desc
                                                           Petition filed by Email Page 45 of 69

 Fill in this information to identify your c'aSe .

 Debtor 1           VVvliesha C Curry
                       Mat Name                      Midete Name                 Lola Name

 Debtor 2
 (Spouse, if filing)   FirsiNeme                     Nelda Name                  Leal Name

 United States Bankruptcy Court for the: Northern District Of Georgia

 Case number
  (If known)
                                                                                                                                                  U Check if this is an
                                                                                                                                                    amended filing

Official Form 106H
Schedule 11: Your Codebtors                                                                                                                                        12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as pos,sible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1.Do you have any codebtors? (If you are filing a joint case, do not list either spouse aS a codebtor.)
       VI No
       a Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property stales and territories include
    Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
       El No. Go to line 3.
       O Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
            LI No
                   Yes. In Which community state or territory did you live?                               . Fill in the name and current address of that person.


                   Name of your spouse, former spouse, or legal equivalent


                   Number              Skeet



                    City                                           State                     ZIP Code

  3_   In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your sixsise is filing with you. List the person
        shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
        Schedule D (Official Form 106D), Schedule E/F(Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
        Schedule E/F, or Schedule G to fill out Column 2.

         Column 1: Your codebtor                                                                                  Column 2: The creditor to whom you owe the debt
                                                                                                                   Check all schedules that apply:
 3.1
                                                                                                                   0. Schedule 0, line
           Name
                                                                                                                   U Schedule EJF, line
           Number            Street                                                                                U Schedule G, line

           City                                                        State                   ZIP Code

 3.2
                                                                                                                   ID Schedule 0, line
           Name
                                                                                                                   O Schedule OF, line
           Number             Street                                                                               O Schedule G. line

           City                                                        Slate                   ZIP Code

  3.3
                                                                                                                   O Schedule D, line
            Name
                                                                                                                   O Schedule EJF, line
            Number            Street                                                                                O Schedule G, line

            City                                                       State                   ZIP Code



 Official Form 106H                                                            Schedule H: Your Codebtors                                                 page 1 of
                Case 22-55595-jwc                   Doc 1 Filed 07/22/22 Entered 07/25/22 09:43:48                                             Desc
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Debtor 1        Wyllesha C Curry                                                                     Case number (irknown)
                   First Name        mild,le Name   Last Name




11111              Additional Page to List More Codebtors

       Column 1: Your codebtor                                                                             Column 2: The creditor to whom you owe the debt

                                                                                                            Check all schedules that apply:

                                                                                                            El           Schedule D, line
        Name
                                                                                                            O Schedule E/F, line

        Number            Street                                                                            O Schedule G, line


        City                                              State                   ZIP Code


                                                                                                            U Schedule D, line
        Name
                                                                                                             Zi          Schedule E/F, line

        Number            Street                                                                             O Schedule G, line


        City                                              State                   ZIP Code

 3._
                                                                                                             O Schedule D, line
        Name
                                                                                                             O Schedule E/F, line

        Number            Street
                                                                                                             O Schedule G, line


        City                                              State                    ZIP Code



                                                                                                             ID Schedule D, line
         Name
                                                                                                             O Schedule E/F, line

         Number            Street                                                                            •           Schedule G line


         City                                              State                   ZIP Code


                                                                                                              O Schedule D, line
         Name
                                                                                                              •           Schedule E/F, line
         Number            Street                                                                             •           Schedule G, line


         City                                              State                   ZIP Code


                                                                                                              O Schedule D, line
         Name
                                                                                                                 •        Schedule EJF, line
                                                                                                                 O Schedule G, line


                                                           State                   ZIP Coda    . .


                                                                                                                  O Schedule D, line
                                                                                                                  •       Schedule E/F, line
                                                                                                                  O Schedule G, line


                                                            State                   ZIP Code


                                                                                                                  U Schedule 0, line
           Warne
                                                                                                                     •    Schedule E/F, line

           Number           Street                                                                                   0     Schedule G, line


                                                            State                   ZIP Code




Official Form 106H                                                  Schedule H: Your Codebtors                                                   page
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Fill in this information to identify 91tUr t-ease'


 Debtor I             VVyllesha C Curry
                      Hrs.( Name           Middle Herne          •   • last Name.

 Debtor 2
 (Spouse, ((filing)   Firtt Nem,           Mid. IN81710                 Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number                                                                                             Check if this is:
 (If known)
                                                                                                         CI An amended filing
                                                                                                            A supplement showing postpetition chapter 13
                                                                                                            income as of the following date:
Official Form 1061                                                                                              MM / DD/ YYYY

Schedule I: Your Income                                                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information, If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not Include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1:              Describe Employment


    Fill in your employment
    Information,                                                              Debtor 1                                   Debtor 2 or non-filing spouse

     If you have more than one job,
     attach a separate page with
     information about additional        Employment status                  U Employed                                   C3 Employed
     employers.                                                               Not employed                               CI Not employed
     Include part-time, seasonal, or
     self-employed work.
                                         Occupation
     Occupation may include student
     or homemaker, lilt applies.
                                         Employer's name

                                         Employer's address
                                                                            Number Street                               Number   Street




                                                                            City             State   ZIP Code           City                 State Zip Code

                                          How long employed there?


  Part 2:             Give Details About Monthly income

     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
     spouse uniess you are separated,
     If you or your non filing spouse have more than one employer, combine the information for all employers for that person on the lines
     below. If you need more space, attach a separate sheet to this form.

                                                                                                     For Debtor 1        For Debtor 2 or
                                                                                                                         non filing spouse
   2. List monthly gross wages, salary, and commissions (before at payroll
      deductions). If not paid monthly, calculate what the monthly wage would be.            Z
                                                                                                 .   $    800.00

 , 3. Estimate and list monthly overtime pay.                                                3. +$


   4.   Calculate gross income. Add line 2 + line 3.



 Official Form 1061                                                  Schedule I: Your Income                                                       page 1
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Debtor 1    VVyllesha C Curry                                                                 Case number
             Fiied Nm       Mdd Name           OM Nm*


                                                                                             For Debtor 1     For. Debtor 2 or
                                                                                                              non-filing spouts)._
    Copy line 4 here                                                              + 4.             800.00       $

 5 List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                               5a.
     5b. Mandatory contributions for retirement plans                                5b.     $
     Sc. Voluntary contributions for retirement plans                                Sc.     $
     5d. Required repayments of retirement fund loans                                5d.     $
     5e. Insurance                                                                   5e.     $
     51. Domestic support obligations                                                5f.     $

     5g. Union dues                                                                  5g.
     5h. Other deductions. Specify:                                                  5h, +                    + $

  6. Add the payroll deductions. Add lines 5a + 5b      5c + 5d +50 +5f + 5g + 5h.   6.      $


  7. Calculate total monthly take-home pay. Subtract line 6 from line 4.              7.           800,00

  a List all other income regularly, received:
     8a. Net income from rental property and from operating a business,
         profession, or farm
         Attach a statement for each property and business showing gross
         receipts, ordinary and necessary business expenses, and the total
         monthly net income.                                                         8a.
      8b.Interest and dividends                                                      Sb.
      Sc. Family support payments that you, a non-filing spouse, or a dependent
          regularly receive
          Include alimony, spousal support, child support, maintenance, divorce
          settlement, and property settlement.                                  Sc.
      8d. Unemployment compensation                                                  8d,
      Be. Social Security                                                            8e.
      8f. Other government assistance that you regularly receive
          Include cash assistance and the value (if known) of any non-cash assistance
          that you receive, such as food stamps (benefits under the Supplemental
          Nutrition Assistance Program) or housing subsidies,
          Specify:                                                                   81.      $

      8g.Pension or retirement income                                                 89.     $

      8h.Other monthly income, Specify:                                               8h. + $

   9. Add all other income. Add lines 8a + 8b + Sc + 8d+ Be + 8f +8g + 8h.             9.

  10 Calculate monthly income. Add line 7 + line 9.                                                 800.00                                        800.00
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.        10.

  it. State all other regular contributions to the expenses that you list in Schedule J.
      Include contributions from an unmarried partner, members of your household, your dependents your roommates, and other
      friends or relatives.
      Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
      Specify:                                                                                                                      11.+              0.00
  12, Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                  12.             800.00
      Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical inforrnation, if it applies
                                                                                                                                           Combined
                                                                                                                                           monthly income
   13. Do you expect an increase or decrease within the year after you file this form?
       id No.
          Yes. Explain:


  Official Form 1061                                             Schedule I: Your Income                                                     page 2
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 Fill in this information to identify yoUr ca-se:

 Debtor 1       WvIlesha C Curry                                                                      Check if this is:
                  First Warne              Middle Name                  Lest Name

 Debtor 2                                                                                             U An amended filing
 (Spouse, if Sing) Ref Name                Middle Name                  Last Name
                                                                                                      Q. A supplement showing postpetition chapter 13
 United States Bankruptcy Court for the, Northern District of Georgia                                    expenses as of the following date:
 Case number                                                                                              MM! DO/ YYrf
 (If known)


Official Form 106J
Schedule                        Your Expenses                                                                                                     12/15

Be as complete and accurate as possible. If bmo married people are filing together, both are equally responsible for supplying correct
information, if more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1:          Describe Your Household

t Is this a joint case?

  El No. Go to line 2.
  U Yes. Does Debtor 2 live in a separate household'
              U NO
              El Yes. Debtor 2 must file Official Form 106J-2, Expenses forSeparate Household of Debtor 2.

2. Do you have dependents?
                                                           -----
                                                         ,,,                        Dependent's relationship to           Dependent's   Does dependent live
   Do not list Debtor 1 and                    es. Fill out this information for febtor 1 or Debtor 2                     age           with you?
   Debtor 2,                                  each dependent....,....................„
                                                                                                                                        1:1 No
   Do riot state the dependents'                                                       Daughter                           4
   names.                                                                                                                               621 Yes

                                                                                    Daughter                                            El No
                                                                                                                          3
                                                                                                                                        Ri Yes

                                                                                    Daughter's father                     30            El No
                                                                                                                                           Yes
                                                                                                                                        U No
                                                                                                                                            v--
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                                                                                                                                   C--3 No
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3 Do your expenses include
                                          No
  expenses of people other than
  yourself and your dependents?        ii Yes


            Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance If you know the value of
 such assistance and have included it on Schedule I; Your Income (Official Form 1061.)                                Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
    any rent for the ground or lot.                                                                           4.
                                                                                                                             \ o
     If not Included in line 4:
     4a. Real estate taxes                                                                                    4a.

     4b. Property, homeowner's, or renter's insurance                                                         4b,

     4c. Home maintenance, repair, and upkeep expenses                                                        40.    $

     4d   Homeowner's association or condominium dues                                                         4d.

Official Form 106J                                       Schedule J: Your Expenses                                                        page 1
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Debtor 1      Wyllesha C Curry                                                            Case number iirtoo
                  First Name   Middk Name        kast.Nam*




                                                                                                                          Your expenses


5 Additional mortgage payments for your residence, such aS home equity loans                                   5.

6    utilities:
     sa. Electricity, heat, natural gas                                                                        sa.        $               200.00
     6b, Water, sewer, garbage collection                                                                      6b.        $                50.00
     Sc.   Telephone, cell phone, Internet, satellite, and cable services                                      60         $               220.00
     6d    Other. Specify:                                                                                     6d.        $

                                                                                                               7.         $       5,81) °
 7. Food and housekeeping supplies

 8. Childcare and children's education costs                                                                   s.         $
                                                                                                                                          c>„).

 9. Clothing, laundry, and dry cleaning                                                                        9,
10. Personal care products and services                                                                        10.        $

 t   Medical and dental expenses                                                                               11.        $

12. Transportation, include gas, maintenance, bus or train fare.
    Do not include car payments.                                                                               12.

13   Entertainment, clubs, recreation, newspapers, magazines, and books                                        13.

14. Charitable contributions and religious donations                                                            14

15. Insurance.
    DO not include insurance deducted from your pay or included in lines 4 or 20.

      isa. Life insurance                                                                                       15a.

      15b.Health insurance                                                                                      15t.

      15c.Vehicle insurance                                                                                     15o.

      15d.Other insurance. Specify:                                                                             15d.

16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                                  16.

17    Installment or lease payments:
      17a. Car payments for Vehicle 1                                                                           17a.

      17b, Car payments for Vehicle 2                                                                           17b.

      17c.Other. Specify:                                                                                       170.

      17d.Other. Specify:                                                                                       17d.

 ie. Your payments of alimony, maintenance, and support that you did not report as deducted from
     your pay on line 5, Schedule!, Your Income (Official Form 1061),                                               18.

 t9. Other payments you make to support others who do not live with you.
      Specify:                                                                                                      19.   $

 20. Other real property expenses not included in lines 4 or 6 of this form or on Schedule I: Your Income.
       20a.Mortgages on other property                                                                          20a.
       20b.Real estate taxes                                                                                    2013.         $
       20c. Property, homeowner's, or renter's insurance                                                        20c.          $
       200• Maintenance. repair, and upkeep expenses                                                            20d.          $
       20e. Homeowner's association or condominium dues                                                         20e,


 Official Form 106J                                           Schedule J: Your Expenses                                                       page 2
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Debtor 1         WVIlesha C Curry                                                         Case number or   wn)
                 Fitt Name    Middle Name      Last Name




21. Other. Specify:                                                                                              21.


22. Calculate your monthly expenses.

    22a.Add lines 4 through 21.                                                                              22a,           2,670.00

    22b.Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                      22b.               0.00
    22c.Add line 22a and 22b. The result is your monthly expenses.                                           22c.            2,670.00



2. Calculate your monthly net income.
                                                                                                                              800.00
   23a.     Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

   23b. Copy your monthly expenses from line 22c above.                                                          23b.   s

   23c. Subtract your monthly expenses from your monthly income.                                                            -1,870.00
        The result is your monthly net income.                                                                   23c,




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your
    mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

    ig No.
          Yes.      Explain here:




 Official Form 106J                                        Schedule : Your Expenses                                                page 3
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 Fill in this information to identify your cas

 Debtor 1              Wyllesha C Curry .
                       Fire Name           Middle Neale                 Last Name

 Debtor 2
 (Spouse, tt filing)   Fist Name           Ludes Noms                   Lse Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number                                                                                                                          Li Check if this is an
                       (If known)                                                                                                          amended filing




Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                          12115
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


=11             Summarize Your Assets

                                                                                                                                   Your assets
                                                                                                                                   Value of what you own
1.Schedule A./11 Properly (Official Form 106NB)
  la, Copy line 55, Total real estate, from Schedule A/I3
                                                                                                                                                       0,00


     lb. Copy line 62 Total personal property, from Schedule A/13                                                                                 706.72

     tc. Copy line 63, Total of all property on Schedule A/B                                                                                      706.72


=I               Summarize Your Liabilities


                                                                                                                                    Your liabilities
                                                                                                                                    Amount you owe
 2. Schedule D: Creditors Who Have Claims Secured by Properly (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule
                                                                                                                                                       0.00

  . Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
    3e. Copy the total claims from Part 1 (priority unsecured claims) from line Be of Schedule E/F
                                                                                                                                                       0.00

     312. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule ElF                .. .   .        $       92,170.00


                                                                                                          Your total liabilities               92,170.00



MEI              Summarize Your iflcome and Expenses

 4. Schedule Your Income (Official Form 1061)
    Copy your combined monthly income from line 12 of Schedule! .......

 s Schedule J: Your Expenses (Official Form 106J)
   Copy your monthly expenses from line 22c of Schedule J




 Official Form 106Surn                      Summary of Your Assets arid Liabilities and Certain Statistical Information                      page 1 of 2
                Case 22-55595-jwc                   Doc 1 Filed 07/22/22 Entered 07/25/22 09:43:48                                       Desc
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 Debtor 1       Wyllesha C Curry                                                               Case number rifk,k
                 Firat Name     Middle Name            Name




rffla          Answer These Questions for Administrative and Statistical Records

  6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     Di No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     0 Yes


   . What kin of debt do you have?

              our debts are primarily consumer debts. Consumer debts are those Incurred by an individual primarily for a personal,
            family, or household purpose.' 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

     CI Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
            this form to the court with your other schedules.



  a From the Statement of Your Current Monthly Income:Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 1228 Line 11; OR, Form 122C-1 Line 14,




  9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:




       From Part 4 on Schedule E/F, copy the following:


      9a. Domestic support obligations (Copy line 6a.)


      9. Taxes and certain other debts you ovve the government. (Copy line 6b.)


      9c.Claims for death or personal injury while you were intoxicated. (Copy line 6c,)


      9d.Student loans. (Copy line 6f.)                                                                             59,178.00

      9e.Obligations arising out of a separation agreement or divorce that you did not report as
         priority claims. (Copy line 6g.)

      9f. Debts to pension or profit-shafing plans, and other similar debts. (Copy line 6h.)           $


      9g.Total. Add lines 9a through 9f.                                                                            59,178.00




Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information                                                page 2 of 2
                  Case 22-55595-jwc                       Doc 1 Filed 07/22/22 Entered 07/25/22 09:43:48                                                   Desc
                                                          Petition filed by Email Page 55 of 69

Fill in this information to identify yoUr case:

Debtor 1           Wyllesha C Curry
                   Feet Name                Middle Name                Lest Name

Debtor 2
(Spouse, iffiling) First Neste              Middle Name                Last Name


United States Bankruptcy Court for the: Northern District of Georgia
Case number
 Of known)
                                                                                                                                                           Check if this is an
                                                                                                                                                            amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor's Schedules                                                                                                                 12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules, Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or Imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




                     Sign Below
  11111

        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

        af No
        C.1 Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                                Signature (Official Form 119).




        Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
        that they are true and correct.




           Signature of ebtor 1                                             Signature of Debtor 2


           Date    CIZOid                                                   Date
                  WA/ DD
                  MM!            t   YYYY                                              001    yrrY




    Offidal Form 106Dec                                       Declaration About an Individual Debtor's Schedules
              Case 22-55595-jwc                   Doc 1 Filed 07/22/22 Entered 07/25/22 09:43:48                                          Desc
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 Fill in this information to identify your case:                                                    Check one box only as directed in this form and in
                                                                                                    Form 122A-1Supp:
 Debtor 1         Wyllesha  C Curry Mildla Name                        LeSt Name
                  Fimt Name
                                                                                                   U 1. There is no presumption of abuse.
 Debtor 2
 (SpoUse, if fikng) Fimt Name               ?Addle Name                Last Name                   U 2. The calculation to determine if a presumption of
                                                                                                        abuse applies will be made under Chapter 7
 United States Bankruptcy Court for the: Northem District of Georgia                                    Means Test Calculation (Official Form 122A-2).
 Case number                                                                                        0 3. The Means Test does not apply now because of
 of laiown)                                                                                              qualified military service but it could apply later.


                                                                                                    Li Check if this is an amended filing

Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                        12119

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Linder§ 707(b)(2) (Official Form 'I 22A-1Supp) with this form.

    Part 1:        Calculate Your Current Monthly Income

        11                     and filing status? Check one only.
         ..01,1s your marital
         lar Not married. Fill out Column A, lines 2-11.
         U Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
         CI Married and your spouse is NOT filing with you. You and your spouse are:
              Li    Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
              U     Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                    under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                    spouse are living apart for reasons that do not include evading the Means Test requirements, 11 U.S.C. § 707(b)(7)(13).
         Fill in the average monthly income that you received from all sources, derived during the 6 full months before you tile this
         bankruptcy case, 11              § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
         August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
         Fill in the result. Do not include any income amount more than once. For exam*, if both spouses own the same rental property, put the
         Income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A            Column B
                                                                                                       Debtor 1            Debtor 2 or
                                                                                                                           non-filing spouse
     2. Your gross wages, salary, tips, bonuses, overtime, and commissions
        (before all payroll deductions).                                                                      800.00         $

     3. Alimony and maintenance payments. Do not include payments from a spouse if
        Column B is filled in.
     4. All amounts from any source which are regularly paid for household expenses
        of you or your dependents, including child support. Include regular contributions
        from an unmarried partner, members of your household, your dependents, parents,
        and roommates. Include regular contributions from a spouse only if Column B is not
        filled in. Do not include payments you listed on line 3.
     5. Net income from operating a business, profession,
        or farrn                                                        Debtor 1   Debtor 2
        Gross receipts (before all deductions)                             $           $
        Ordinary and necessary operating expenses                          $       —
         Net monthly income from a business, profession, or farm                              Copy
                                                                           $                  here+     $
     6. Net income from rental and other real property                  Debtor 1   Debtor 2
        Gross receipts (before all deductions)
        Ordinary and necessary operating expenses                          $       —s
          Net monthly income from rental or other real property                               Copy.
                                                                                       $      here",    $
     7. Interest, dividends, and royalties



  Official Form 122A-1                           Chapter 7 Statement of Your Current Monthly Income                                                 page 1
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Debtor i        Wyllesha C Curry                                                                 Case number (v.)
                                Middle Novo        Iasi Name


                                                                                                     Column A           Column B
                                                                                                     Debtor 1           Debtor 2 or
                                                                                                                        non-filing spouse

   8. UnerneloynientcompensatiOn
       Do not enter the amount if you contend that the amount received was a benefit
       under the Social Security Act. Instead, list it here: .. ............ ........,......
            For you
            For your spouse
   9. Pension or retirement income Do not include any amount received that was a
      benefit under the Social Security Act. Also, except as stated in the next sentence, do
      not include any compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related Injury or
      disability, or death of a member of the uniformed services. If you received any retired
      pay paid under chapter 61 of title 10, then include that pay only to the extent that it
      does not exceed the amount of retired pay to which you would otherwise be entitled if
      retired under any provision of title 10 other than chapter 61 of that title.
   10.income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act; payments received
       as a victim of a war crime, a crime against humanity, or international or domestic
      terrorism; or compensation, pension, pay, annuity, or allowance paid by the United
      States Government in connection with a disability, combat-related injury or disability, or
       death of a member of the uniformed services. If necessary, list other sources on a
       separate page and put the total below.




           Total amounts from separate pages, if any.

    11. Calculate your total current monthly income. Add lines 2 through 10 for each
        column. Then add the total for Column A to the total for Column B.                                                                            800.00
                                                                                                                                               Total currant
                                                                                                                                               Monthly Income


  UM                Determine Whether the Means Test Applies to You

    12. Calculate your current monthly income for the year. Follow these steps:
           12a. Copy your total current monthly income from line 11                                                  copy fine 11 hare+              800.00
                 Multiply by 12 (the number of months in a year).
           12b. The teSult is your annual income for this part of the form.                                                          12b.

    13. Calculate the median family income that applies to you. Follow these steps:

           Fill in the state in which you live.                        GA

           Fill in the number of people in your household.             4
           Fill in the median family income for your state and size of household.                                                    13,       $ 96,622.00
            To find a list of applicable median income amounts, go online using the link specified in the separate
           instructions for this form. This fist may also be available at the bankruptcy clerk's office.


     14. How do the lines compare?


           14a. id Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                   Go to Part 3. Do NOT fill outer file Official Form 122A-2



           14h. 0    Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-Z
                     Gate Part 3 and fill out Form 122A-2.




  Official Form 122A-1                            Chapter 7 Statement of Your Current Monthly Income                                              page 2
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Debter:1    W
            First yll
                      esha Middle
                   arne
                            C Curry                                                          Case number orknows)
                                  Name        Last Nam



    •         Sign Below

             By signing here, I declare under penalty of per]     that the information on this statement and in any attachments is true and correct.




                 Signature of Debtor 1                                                       Signature of Debtor 2

                 Date     ao          a_‘                                                    Date
                                                                                                    MM DD /YyyY
                         Mkt / DD   / YYYY

                 If you checked line 14a, do NOT fill out or file Form 122A-2,
                 If you checked line 14b, fill out Form 122A-2 and file it with this form,
                                                    —




  Official Form 122A-1                       Chapter 7 Statement of Your Current Monthly Income                                                  page 3
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                                                  Petition filed by Email Page 59 of 69
 Fill in this information to identify your case:

 Debtor 1        Wyilesha C Curry
                   Frei Name                     Name                  Last Name

 Debtor 2
 (Spouse, frilling) Fast Name               Middle Name                Last Naha.


 United states Bankruptcy Court for the: NorthernDistrict of Georgia

 Case number
  (If known)
                                                                                                       ID Check if this is an amended filing




Official Form 122A--1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                      12115

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 if you believe that this Is
required by 11 U.S.C. § 707(b)(2)(C)


               Identify the Kind of Debts You Have

1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. §101(8) as Incurred by an individual primarily for.a
   personal, family, or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for
   Individuals Filing for Bankruptcy (Official Form 101).

   U No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
         submit this supplement with the signed Form 122A-1.
   gi Yes. Go to Part 2.

               Determine Whether Military Service Provisions Apply to You


2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?

    64 No. Go to line 3.
    •    Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity'?
              10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).

                    No. Go to line 3.
                    YeS. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3.
                         Then submit this supplement with the signed Form 122A-1.

3, Are you or have you been a Reservist or member of the National Guard?
   • No. Complete Form 122A-1. Do not submit this supplement.
    U Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U,S.C. § 901(1).
         U No, Complete Form 122A-1. Do not submit this supplement.
         U Yes. Check any one of the following categories that applies:

               0 I was called to active duty after Septernber11, 2001, for at least            If you checked one of the categories to the left, go to
                 90 days and remain on active duty.                                            Form 122A-1. On the top of page 1 of Form 122A-1,
                                                                                               check box 3, The Means Test does not apply now, and
               El I was called to active duty after September 11 2001, for at least
                                                                                               sign Part 3. Then submit this supplement with the signed
                  90 days and was released from active duty on
                                                                                               Form 122A-1. You are not required to fill out the rest of
                  which is fewer than 540 days before I file this bankruptcy case.
                                                                                               Official Form 122A-1 during the exclusion period. The
               CI lam performing a homeland defense activity for at least 90 days.             exclusion period means the time you are on active duty
                                                                                               or are performing a homeland defense activity, and for
               ij I performed a homeland defense activity for at least 90 days.                540 days afterward. 11 U.S.C. § 707(b)(2)(0)(ii).
                  ending on                        which is fewer than 540 days
                                                                                                If your exclusion period ends before your case is closed,
                  before I file this bankruptcy case.
                                                                                                you may have to file an amended form later.


  Official Form 122A-1Supp                Statement of Exemption from Presumption of Abuse Under's 707(b)(2)
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                                                                                                                       Check the appropriate box as directed in
  Fill in this information to identify your case:
                                                                                                                       lines 40 or 42:

  Debtor I          VVvilesha C Curry                                                                                  According to the calculations required by
                     Fast More                   Middle Name                UN Name                                    this Statement:
  Debtor 2
  (Spouse, it filing) Fite Name                  Middle Name                Lest Name                                  •   I. There is no presumption of abuse.

  United States Bankruptcy Court for the; Northern District of Georgia                                                 U 2, There is a presumption of abuse.

   Case number
   (TT Moven)
                                                                                                                       •   Check if this is an amended filing




 Official Form 122A-2
 Chapter 7 Means Test Calculation                                                                                                                            04/22

 To fill out this form, you will need your completed copy of Chapter 7•Statement of Your Current Monthly Income (Official Form 122A-1).
 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space
 is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional
 pages, write your name and case number (if known).



an               Determine Your Adjusted Income



 1. Copy your total current monthly income.                                                   Copy tine 11 from Official Form 12M-1 here                     800.00

1 .2. Did        fill out Column B in Patti of Form 122A-1?
             o. Fill in $0 for the total on line 3.
      DI Yes. Is your spouse filing with you?

                No. Go to line 3.
            CI Yes. Fill in $0 for the total on line 3.

  3. Adjust your current monthly income by subtracting any part of your spouse's income not used to pay for the
     household expenses of you or your dependents Follow these steps:

      On line 11, Column B of Form 122A-1, was any amount of the income you reported for your spouse NOT
      regularly used for the household expenses of you or your dependents?

      1=1 No. Fill in 0 for the total on line 3.
      U Yes. Fill in the information below.

                State each purpose for which the income was used                              FM In the amount you
                For example, the income is used to pay your spouse's tax debt or to support   are subtracting from
                People other than you or your dependents                                      your spouse's income




                                                                                              +5

                                                                                                           0.00
                                                                                                                       Copy total here        4      —$              0.00


  4. Adjust your current monthly income. Subtract the total on line 3 from line 1.




   Official Form 122A- 2                                             Chapter 7 Means Test Calculation                                                     page 1
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Debtor I          VVvIlesha C Curry                                                                      Case number (rk,,ovn)
                  First Nome     MIddle Nome         Ltd Nanle



=11              Calculate Your Deductions from Your income

  The Internal Revenue Service (IRS) issues National and Local Standards for certain expense.amounts Use these amounts to
  answer the questions in lines 645. To find the IRS standards, go online using the link specified in the separate instructions for
  this form. This information may also be available at the bankruptcy clerk's office.

  Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. in later parts of the form, you will use some of your
  actual expenses if they are higher than the standards. Do not deduct any amounts that you subtracted from your spouse's income in line 3
  and do not deduct any operating expenses that you subtracted from income in lines 5 and 6 of Form 122A-1.

  If your expenses differ from month to month, enter the average expense.

   Whenever this part of the form refers to you, it means both you and your spouse if Column B of Form 122A-1 is filled in,


    5. The number of people used in determining your deductions from income
           Fill in the number of people who could be claimed as exemptions on your federal income tax return,
           plus the number of any additional dependents whom you support, This number may be different from
           the number of people in your household.


     National Standards              You must use the IRS National Standards to answer the questions in lines 6-7.


    6, Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National Standards, fill                                $ 1,610.00
       In the dollar amount for food, clothing, and other items.



    7. Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards,
       fill in the dollar amount for out-of-pocket health care. The number of people is split into two categories--people who are
       under 65 and people who are 65 or older—because older people have a higher IRS allowance for health care costs. If your
       actual expenses are higher than this IRS amount, you may deduct the additional amount on line 22.


           People who are under 65 years of age


           75     Out-of-pocket health care allowance per person
                                                                                 0.00

           7b. Number of people who are under 65


           le. Subtotal. Multiply line 7a by line lb.                            0.00         Copy here+                         0.00



             People who are 65 years of age or older .


           7d. Out-of-pocket health care allowance per person
                                                                                 0.00
            7e. Number of people who are 65 or older                         0

           71.    Subtotal. Multiply line 7c1 by line 7e.                        0.00         Copy here+
                                                                                                                -'-S             0.00


            7g. Total. Add lines 7c and               ........                          ...... ..„.........                  0.00       I copy total here4         0.00




  Official Form 122A-2                                           Chapter 7 Means Test Calculation                                                             page 2
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Debtor 1        Wyllesha C Curry                                                                    Case number lit known)
                FO*Mmt         MjcidieMTI#            PWN0r0f;



   Local Standards            You must use the IRS Local Standards to answer the questions in lines 8-16.

   Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
   bankruptcy purposes into two parts:
   II Housing and utilities — Insurance and operating expenses
   N Housing and utilities — Mortgage or rent expenses

    To answer the questions in lines 8-9, use the U.S. Trustee Program chart.
    To find the chart, go online using the link specified in the separate instructions for this form.
    This chart may also be available at the bankruptcy clerk's office.


    8. Housing and utilities — Insurance and operating expenses: Using the number of people you entered in line 5, fill in the
       dollar amount listed for your county for insurance and operating expenses.


    9. Housing and utilities         Mortgage or rent expenses:

           Oa. Using the number of people you entered in line 5, fill in the dollar amount listed                       $ 1,331.00
               for your county for mortgage or rent expenses

           96. Total average monthly payment for all mortgages and other debts     secured by your home


              To calculate the total average monthly payment, add all amounts that are
              contractually due to each secured creditor in the 60 months after you file for
              bankruptcy. Then divide by 60,

                Name of the creditor                                              Average monthly
                                                                                  payment

                 rent                                                             $     1,120.00



                                                                                  $

                                                                                                         Copy                         Repeat this
                                             Total average monthly payment                                            —$       0.00    amount on
                                                                                                         hererah                      line 33a.

           sc. Net mortgage or rent expense.
               Subtract line 9b (total average monthly payment) from line 9a (mortgage or
                                                                                                                                      Copy          211.00
               rent expense). If this amount is less than $0, enter $0.                                                               here.



     10.If you claim that the U.S, Trustee Program's division of the IRS Local Standard for housing is incorrect and affects
        the calculation of your monthly expenses, fill in any additional amount you claim.

            Explain
            why:



     11.Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.
           RI 0. Go to line 14.
              1, Go to line 12.
           UI 2 or more. Go to line 12.


     12.Vehicle operation expense: Using the IRS Local Standards and the number of vehicles forwhich you claim the
        operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.




  Official Form 122A-2                                            Chapter 7 Means Test Calculation                                                  page 3
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Debtor 1        Wyllesha C Curry                                                                     Case number (r*nown)
                First Name         !Meta Name        Last Name




                                                                                                                 expense
   13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease
                                                                                                           on the vehicle.
       for each vehicle below. You may not claim the expense if you de not make any loan or lease payments
       In addition, you may not claim the expense for more than two vehicles.


           Vehicle 1         Describe Vehicle 1:    N/A



           138. Ownership or leasing costs using IRS Local Standard.

           13b. Average monthly payment for all debts secured by Vehicle 1.
                Do not include costs for leased vehicles.
                 To calculate the average monthly payment here and on line 13e, add all
                 amounts that are contractually due to each secured creditor in the 60 months
                 after you filed for bankruptcy, Then divide by 60.

                       Name of each creditor for Vehicle 1              Average monthly
                                                                        payment



                                                                           $

                                                                                                    Copy                     Repeat this
                                      Total average Monthly payment                                                          amount on
                                                                                                    here+                    line 33b.

                                                                                                                             Copy net
            13c. Net Vehicle 1 ownership or lease expense                                                                    Vehicle 1
                                                                                                                             expense
                 Subtract line 13b from line 13a. If this amount is less than $0, enter $0
                                                                                                                             here.....4

            Vehicle 2         Describe Vehicle 2:




            13d. Ownership or leasing costs using IRS Local Standard. .         . . . .      .--••••••••••••—•-•

            13e. Average monthly payment for all debts secured by Vehicle 2.
                 Do not include costs for leased vehicles.

                        Name of each creditor for Vehicle 2              Average monthly
                                                                         payment




                                                                            $


                                                                                                       Copy                   Repeat this
                                        Total average monthly payment                                                         amount on
                                                                                                       here+         $        line 33c.

                                                                                                                              Copy net
            13f. Net Vehicle 2 ownership or lease expense                                                                     Vehicle 2
                 Subtract line 13e from 13d. If this amount is less than $0, enter $0                                         expense
                                                                                                                              here.., '

      14.Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the
         Public Transportation expense allowance regardless of whether you use public transportation.

      15.Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may also
         deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may net dairn
         more than the IRS Local Standard for Public Transportation.
                     ..

   Official Form 122A- 2                                         Chapter 7 Means Test Calculation                                            page 4
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Debtor 1     Wvilesha C Curry                                                                  Case number wk.)
             RolName        *kite Nome            Last tOme




   Other Necessary Expenses              In addition to the expense deductions listed above, you are allowed your monthly expenses for
                                         the following IRS categories.


   16.'Taxes: The total monthly amount that you will actually owe for federal, state and local taxes, such as income taxes, self-
       employment taxes, Social Security taxes, and Medicare taxes, You may include the monthly amount withheld from your
       pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12 and
       subtract that number from the total monthly amount that is withheld to pay for taxes.
       Do not include real estate, sales, or use taxes.

   17.involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,
      union dues. and uniform costs.
      Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.

    18.Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are filing
       together, include payments that you make for your spouse's term life insurance. Do not include premiums for life
       insurance on your dependents, for a non-filing spouse's life insurance, or for any form of life insurance other than term.


    19.Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative
       agency, such as spousal or child support payments.
       Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

    20.Education: The total monthly amount that you pay for education that is either required:
         as a condition for your job, or
         for your physically or mentally challenged dependent child if no public education is available for similar services.

    21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
        Do not Include payments for any elementary or secondary school education.

    22.Additional health care expenses, excluding insurance costs:, The monthly amount that you pay for health care that
       is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by .a
       health savings account. Include only the amount that is more than the total entered in line 7.
       Payments for health insurance or health savings accounts should be listed only in line 25.


    23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services for
        you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell phone
        service, to the extent necessary for your health and welfare or that of your dependents or for the production of income, if it
        is not reimbursed by your employer.
        Do not include payments for basic home telephone, Internet and cell phone service. Do not include self-employment
        expenses, such as those reported on line 5 of Official Form 122A-1, or any amount you previously deducted,

     24.Add all of the expenses allowed under the IRS expense allowances.                                                                       $ 2,944,0C
        Add lines 6 through 23.




  Official Form 122A-2                                        Chapter 7 Means Test Calculation                                                  page 5
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Debtor 1           Wyllesha C Curry                                                               Case number of known)
                   firsi Name     Middle Name       Last Name




    Additional Expense Deductions               These are additional deductions allowed by the Means Test.
                                                Note: Do not include any expense allowances listed in Linea 6-24.


   25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
       Insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or your
        dependents.

           Health insurance

           Disability insurance

           Health savings account

           Total                                                                                     Copy total here4

           Do you actually spend this total amount?

           U No How much do you actually spend?
             Yes



    26, Continuing contributions to the care of household or family members. The actual monthly expenses that you will
       continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of your
       household or member of your immediate family who is unable to pay for such expenses. These expenses may include
       contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).


     27. Protection against family violence. The reasonably necessary monthly expenses that you Incur to maintain the safety of
       you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.
       By law, the court must keep the nature of these expenses confidential.


     28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on line 8.
       If you believe that you have home energy costs that are more than the home energy costs included in expenses on line
       8. then fill in the excess amount of home energy costs.
        You must give your case tnistee documentation of your actual expenses, and you must show that the additional amount
        claimed is reasonable and necessary.


     29, Education expenses for dependent children who are younger than 18. The monthly expenses (not more than $189.58*
        per child) that you pay for your dependent children who are younger than 18 years old to attend a private or public
        elementary or secondary school.
        You must give your case tn.istee documentation of your actual expenses, and you must explain why the amount claimed is
        reasonable and necessary and not already accounted for in lines 6-23.
            * Subject to adjustment on 4/01/25, and every 3 years after that for cases begun on or after the date of adjustment.


     30.Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are higher                            .0,00
       than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more than 5% of the
       food and clothing allowances in the IRS National Standards.
       To find a chart showing the maximum additional allowance, go online using the link specified in the separate instructions for
       this form. This chart may also be available at the bankruptcy clerk's office.
       You must show that the additional amount claimed is reasonable and necessary.


      31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
        instruments to a religious or charitable organization. 26  § 170(c)(1)-(2).


      32. Add aft of the additional expense deductions.
         Add lines 25 through 31.




  Official Form 122A-2                                           Chapter 7 Means Test Calculation                                             page 6
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Debtor 1        Wyilesha C Curry                     Last Name
                                                                                                          Case number rir
                Ffrst Name     Middle Name




    Deductions for Debt Payment


   33. For debts that are secured by an interest In property that You own, including home mortgages, vehicle
       loans, and other secured debt, fill in lines 33a through 33e.
       To calculate the total average monthly payment add all amounts that are contractually due to each secured
       creditor in the 60 months after you tile for bankruptcy. Then divide by 60.

                                                                                                                     Average monthly.
                                                                                                                     payment
                Mortgages on your home:
           33a. Copy line 9b here                                                                            ▪         $          0.00

                 Loans on your first two vehicles:

           33b Copy line 13b here

           33c. Copy line 13e here.                                                                                    $

           33d. List other secured debts:

                   Name of each creditor for other               identify property that            Does payment
                   secured debt                                  secures the debt                  Include taxes
                                                                                                   or insurance?

                                                                                                    • No
                                                                                                    O Yes

                                                                                                    •U    No
                                                                                                    U     Yes

                                                                                                    •     No
                                                                                                    lj    Yes

       33e. Total average monthly payment. Add lines 33a through 33d.


     34.Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
        or other property necessary for your support or the support of your dependents?

           Cif No. Go to line 35.
           U Yes State any amount that you must pay to a creditor, in addition to the payments
                   listed in line 33, to keep possession of your property (called the cure amount).
                   Next, divide by 60 and fill in the information below.

                      Name of the creditor           Identify property that           Total cure                        Monthly cure
                                                     secures the debt                 amount                            amount
                                                                                                         + 60 =

                                                                                                         + 60 =

                                                                                                         + 60 =

                                                                                                                                         Copy total
                                                                                                          Total
                                                                                                                                         here+

     35.Do you owe any priority claims such as a priority tax, child support, or alimony—
        that are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.
           21 No. Go to line 36.
              Yes. Fill in the total amount of all of these priority claims. Do not Include current or
                   ongoing priority claims, such as those you listed in line 19.

                      Total amount of all past-due piiority claims
                                                                                                                                         + 60 =
  Official Form 122A-2                                              Chapter 7 Means Test Calculation                                                    page 7
             Case 22-55595-jwc                     Doc 1 Filed 07/22/22 Entered 07/25/22 09:43:48                                                         Desc
                                                   Petition filed by Email Page 67 of 69

Debtor 1                 C Curry
               Wyllesha Muddle                     Last Name
                                                                                                      Case number (riknown)
               Feel Name       Name




   36. Are you eligible to file a case under Chapter 13? 11 U.S.C. § 109(e).
       For more information, go online using the link for Bankruptcy Basics specified in the separate
       instructions for this form. Bankruptcy Basics may also be available at the bankruptcy clerk's office.
       WI No. Go to line 37.
       U Yes. Fill in the following information.

                   Projected monthly plan payment if you were filing under Chapter 13
                   Current multiplier for your district as stated on the list issued by the
                   Administrative Office of the United States Courts (for districts in Alabama and
                   North Carolina) or by the Executive Office for United States Trustees (for all
                   other districts).
                   To find a list of district multipliers that includes your district, go online using the
                   link specified in the separate instructions for this form. This list may also be
                   available at the bankruptcy clerk's office.

                   Average monthly administrative expense if you were filing under Chapter 13



    37.Add all of the deductions for debt payment                                                                                                              $       0.00
       Add lines 33e through 36.


    Total Deductions from Income

    38. Add all of the allowed deductions.

       Copy line 24, All of the expenses allowed under IRS                            2,944.00
       expense allowances

       Copy line 32, All of the additional expense deductions                               0.00

       Copy line 37, All of the deductions for debt payment                 + $             0.00

                                                     Total deductions                 2,944.00                Copy total here ..... . ....     . .... 4                 2,944,00

     Part 3:      Determine Whether There Is a Presumption of Abuse

    39. Calculate monthly disposable income for 60 months

           39a. Copy line 4, adjusted current monthly income .....                      800.00

           39b. Copy line 38, Total deductions.....                                   2,944.00

           39c. Monthly disposable Income. 11                  § 707(0(41     $o                             1 Copy            $    0
                Subtract line 39b from line 39a.                                                             I here4

                 For the next 60 months (5 years)                                                                              x 60


           39d. Total. Multiply line 39c by 60                                                                                  $            0.00 - C(44'
                                                                                                                                                       here+                  00i
                                                                                                                                                   j

     40. Find out whether there is a presumption of abuse. Check the box that applies:
              The line 39d is less than $9,075*. On the top of page 1 of this form, check box 1, There is no presurnption of abuse. Go to
              Part 5.

           Cl The fine 39d is more than $15,150*. On the top of page 1 of this form, check box 2, There is a presumption of abuse. You
              may fill out Part 4 if you claim special circumstances. Then go to Part 5.

           U The line 39d Is at least $9,075*, but not more than $15,150*. GO to line 41.
              * Subject to adjustment on 4/01/25, and every 3 years after that for cases filed on or after the date of adjustment.


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Debtor 1         Wyllesha C Curry                                                                Case number irt known)
                 Fiat Name         Wide Name       Lae Name



                                               _
   41. 41a Fill in the amount of your total nonpriority unsecured debt if you filled out A
           Summary of Your Assets and Liabilities and Certain Statistical Information Schedules
           (Official Form 106Sum), you may refer to line 3b on that form

                                                                                                                          x .25

           41b. 25% of your total nonpriority unsecured debt 11 U.S.C. §707(b)(2)(A)ff)(1).
                Multiply line 41a by 0.25.



   42.Determine whether the income you have left over after subtracting all allowed deductions
      is enough to pay 25% of your unsecured, nonpriority debt.
      Check the box that applies:

           0 Line 39d is less than line 41b. On the top of page 1 of this form, check box 1, There is no presumption of abuse.
             Go to Part 5.

           O Line 39d is equal to or more than line 41b. On the top of page 1 of this form, check box 2, There is a presumption
              of abuse. You may fill out Part 4 if you claim special circumstances. Then go to Part 5.




=11              Give Details About Special Circumstances

43.Do you have any special circumstances that justify additional expenses or adjustments of current monthly income for which there is no
   reasonable alternative? 11 U.S.C. §707(b)(2)(B).

           No. Go to Part 5.
     0     Yes. Fill in the following information. All figures should reflect your average monthly expense or income adjustment
                for each item. You may include expenses you listed in line 25.


                You must give a detailed explanation of the special circumstances that make the expenses or income
                adjustments necessary and reasonable. You must also give your case trustee documentation of your actual
                expenses or income adjustments.


                 Give a detailed explanation of the special circumstances                                                 Average monthly expense
                                                                                                                          or income adjustment




                Sign Below

                By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.




                    Signature of     btor 1                                               Signature of Debtor 2


                    Date     tC.0                                                         Date
                             MM/D      /YYYY                                                     MM / OD / YYYY


  Official Form 122A-2                                         Chapter 7 Means Test Calculation                                                     page 9
                Case 22-55595-jwc              Doc 1 Filed 07/22/22 Entered 07/25/22 09:43:48                                       Desc
                                               Petition filed by Email Page 69 of 69
 Case Number: 22-55595                          Name: Curry                    Chapter:7 Division: Atlanta

Please submit the following original documents to the Court for filing so that the case will proceed timely. Failure to comply may
result in the dismissal of your case.

If filing bankruptcy without an attorney, please read the information regarding Filing Bankruptcy without an Attorney at:
www.uscourts.goviservices-forms/bankruptcy/filing-without-attorney.

IZI Individual - Series 100 Forms                                                       •    Non-Individual - Series 200 Forms
Official and Local Bankruptcy Forms are available on the Court's website at: www.ganb.uscourts.gov.

 MISSING DOCUMENTS DUE WITHIN 7 DAYS                                                     Petition Deficiencies:
 0 Complete List of Creditors (names and addresses of all creditors)                     O Last 4 digits of SSN
 El Pro Se Affidavit (signature must be notarized,                                       CI Address
 or witnessed by a Court Intake Clerk, accompanied by a picture I.D.)                    O Statistical Estimates
 0 Signed Statement of SSN                                                               CI Other:
MISSING DOCUMENTS DUE WITHIN 14 DAYS
O Statement of Financial Affairs                                                                           Case filed via:
O Schedules: A/B C D El FGHIJO J-2 (separate household of Debtor 2)               0 Intake Counter by:
O Summary of Assets and Liabilities                                                   O Attorney
O Declaration About Debtor(s) Schedules                                               O Debtor
O Attorney Disclosure of Compensation                                                 O Other:
O Petition Preparer's Notice, Declaration and Signature (Form 119)                0 Mailed by:
O Disclosure of Compensation of Petition Preparer (Form 2800)                        O Attorney
O Chapter 13 Current Monthly Income                                                  O Debtor
O Chapter 7 Current Monthly Income                                                   O Other:
O Chapter 11 Current Monthly Income
CZ Certificate of Credit Counseling (Individuals only)                              Email [Pursuant to General Order 45-2021, this petition
   Pay Advices (Individuals only) (2 Months)                                      was received for filing via email] 617-366-7776
CI Chapter 13 Plan, complete with signatures (local form)
El Corporate Resolution (Non-Individual Ch. 7 & 11)                                             History of Case Association
                                                                                  Prior cases within 2 years: NONE
MISSING DOCUMENTS DUE WITHIN 30 DAYS
E] Statement of Intent — Ch.7 (Individuals only)
                                                                                  Signature:
Ch.11 Business                                                                    Acknowledgment of receipt of Deficiency Notice
O 20 Largest Unsecured Creditors
O List of Equity Security Holders
                                                                                                      EBJL
O Small Business - Balance Sheet                                                   Intake Clerk:                     ID Verified Ei Date:7/25/22
CI Small Business - Statement of Operations
O Small Business - Cash Flow Statement
O Small Business - Federal Tax Returns

FILING FEE INFORMATION
Online Payment for Filing Fee https://www.ganb.uscourts.govionline-payments (not for chapter 13 plan payments)
      0 Paid $
      O Pending Pay.Gov, Paid $
      •   IFP filed (Ch.7 Individuals Only)
      LI 2g-Order Granting El 3g-Order Granting 10-day (initial payment of $_____ due within 10 days)
      LI 2d-Order Denying with filing fee of $  due within 10 days
      O No Application to Pay in Installments, Order Regarding Unpaid Case Filing Fee.
                              You may mail documents and filing fee payments (no personal checks or cash accepted) to the address below.
                         All fee payments and documents filed with the Court must show the debtor's name and bankruptcy case number.
                                                   UNITED STATES BANKRUPTCY COURT
                                                     75 Ted Turner Drive, SW, Room 1340
                                                            Atlanta, Georgia 30303
                                                                404-215-1000
